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                   EXHIBIT 1
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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

  JOSELYN RAMOS, KAITLIN BROOKS,
  CARL FLORIAN, and FRANCIS
  LAURITZEN, individually and on behalf of
  all others similarly situated,

                         Plaintiffs,                  Case No. 21-cv-02032

  v.                                                  Honorable Charles P. Kocoras

 ZOOMINFO TECHNOLOGIES LLC, a
 Delaware limited liability company,

                         Defendant.


                      CLASS ACTION SETTLEMENT AGREEMENT

       This Class Action Settlement Agreement (“Agreement” or “Settlement Agreement”) is

entered into by and among (i) Plaintiffs Joselyn Ramos, Kaitlin Brooks, Carl Florian, and Francis

Lauritzen (collectively, “Plaintiffs”), for themselves individually and on behalf of the Settlement

Classes, and Defendant ZoomInfo Technologies LLC (“ZoomInfo” or “Defendant”). Plaintiffs

and Defendant are collectively referred to as the “Parties.” This Settlement Agreement is

intended by the Parties to fully, finally, and forever resolve, discharge, and settle the Released

Claims upon and subject to the terms and conditions of this Settlement Agreement, and subject to

the final approval of the Court.

                                        RECITALS

       A.      This putative class action was originally filed in the United States District Court

for the Northern District of Illinois on April 15, 2021 as Jessica Leving Siegel v. ZoomInfo

Technologies LLC, and alleges violations of the Illinois Right of Publicity Act, 765 ILCS 1075/1,

et seq. (“IRPA”). (Dkt. 1.) Specifically, the original complaint alleged that ZoomInfo’s use of




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plaintiff’s and other consumers’ identities to encourage individuals to purchase subscriptions to

ZoomInfo’s website violated the IRPA. (Id.) The Parties stipulated to substitute Plaintiff Joselyn

Ramos into the case for Jessica Leving Siegel as the named plaintiff on September 7, 2021,

before the Court ruled on Defendant’s motion to dismiss, and the case caption was changed to

Joselyn Ramos v. ZoomInfo Technologies LLC. (Dkts. 20, 24.)

        B.      ZoomInfo moved to dismiss the Ramos complaint. (Dkt. 14.) The Court denied

ZoomInfo’s motion to dismiss. (Dkt. 21.) ZoomInfo thereafter answered the First Amended

Complaint, and Ramos and ZoomInfo began engaging in discovery in the Ramos case. (Dkt. 28.)

        C.      This discovery included significant written discovery efforts, wherein Ramos

requested, and Defendant provided, information on the putative class’s composition and the

types of data that Defendant maintained related to its website and its visitors. With this

information in hand, Ramos took depositions of Defendant’s corporate representatives. Ramos

likewise participated in the discovery process, responding to Defendant’s written discovery and

sitting for a deposition.

        D.      Following the close of discovery in the Ramos action, Ramos moved for

certification of an Illinois class. (Dkt. 59.) ZoomInfo opposed the class certification motion and

submitted an expert report in support of its opposition. (Dkts. 66, 66-3.) Ramos moved to strike

the expert report. (Dkt. 80.) Both the motion for class certification and motion to strike were

pending when Ramos and ZoomInfo agreed to attend a mediation. (Dkt. 90.)

        E.      While the Ramos action was pending, another plaintiff filed a substantially similar

case against ZoomInfo in the Western District of Washington, alleging violations of California’s

Right of Publicity Statute, Cal. Civ. Code § 3344, et seq., seeking relief on behalf of a putative

California class. (Martinez v. ZoomInfo Technologies LLC, No. 3:21-cv-05725 (W.D. Wash.))




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ZoomInfo moved to dismiss the Martinez action and to strike pursuant to California’s “anti-

SLAPP” statute, which the Court denied. (Id., dkts. 19, 39.) ZoomInfo appealed the decision,

which was affirmed by the Ninth Circuit. (Martinez v. ZoomInfo Technologies LLC, No. 22-

35305 (9th Cir.), dkts. 1, 70.) The Ninth Circuit subsequently vacated the panel order and

ordered a rehearing en banc which has yet to occur. (Id., dkt. 81.)

       F.      In parallel with their discovery efforts, Ramos and ZoomInfo began informally

exploring the possibility of settlement. As these initial discussions progressed, ZoomInfo

expressed an interest in reaching a global settlement that would resolve the Martinez action and

other potential right of publicity lawsuits against it. Ramos and ZoomInfo therefore discussed

potential settlement proposals that involved the California claims in Martinez, as well as

potential claims under the right of publicity laws in Indiana and Nevada. To facilitate those

discussions, Ramos’ counsel sought informal discovery into the potential settlement class sizes

in each of these states, which ZoomInfo provided in July 2023.

       G.      With this information in hand, counsel for Ramos and ZoomInfo agreed to

schedule a mediation with the Honorable James F. Holderman (Ret.) of JAMS. Counsel in the

Martinez action, who had been working with counsel for Ramos, was also apprised of the

mediation. In advance of the mediation, the Parties exchanged mediation briefs setting forth their

respective positions and provided Judge Holderman with relevant documents from the cases. As

part of this process, and understanding that ZoomInfo sought a settlement that would provide a

global resolution, Plaintiffs’ counsel issued non-contingent settlement proposals for settlement

classes in California, Illinois, Indiana, and Nevada. Defendant was welcome to accept or reject

any of these individual proposals.

       H.      After exchanging their mediation briefs and holding preparatory calls with Judge




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Holderman, the Parties attended a full-day mediation. Despite their arms’-length negotiations,

the Parties were unable to reach a resolution on the day of the mediation. In the week that

followed, however, the Parties continued to discuss the potential for settlement, including

through multiple calls with Judge Holderman. Through this process, the Parties were ultimately

able to reach the material terms of an agreement-in-principle to resolve pending and potential

litigation against ZoomInfo. This agreement was memorialized in a memorandum of

understanding that was formalized into this Settlement Agreement.

       I.      To that end, the Parties agreed to seek amendment in the first-filed Ramos

complaint to include putative class representatives from the states specified herein. This would

allow the proposed settlement to be evaluated and effectuated through a single action.

       J.      In addition, given that the agreement-in-principle contemplated a global

settlement of disputes relating to right of publicity claims against ZoomInfo in certain states

including California, ZoomInfo submitted a letter to the United States Court of Appeals for the

Ninth Circuit in advance of the en banc hearing set for Martinez. (Martinez, No. 22-35305, dkt.

123.) The hearing was then vacated. (Id.)

       K.      Plaintiffs and Class Counsel believe that the claims asserted in the Action have

merit, and that they would have ultimately succeeded in certifying a class, at trial or summary

judgment, and on any subsequent appeal. But Plaintiffs and Class Counsel recognize that

ZoomInfo has raised relevant factual and legal defenses that pose risks to both the merits of the

litigation and the maintenance of the litigation as a class action. Class Counsel have also taken

into account the uncertain outcome and risks of any litigation, especially in complex actions, as

well as the difficulty and delay inherent in such litigation and the appeals that would follow any

judgment in favor of the Settlement Classes. Class Counsel believe that this Agreement




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eliminates uncertainty in the outcome and presents an exceptional result for the Settlement

Classes, and one that will be provided without delay. Therefore, Plaintiffs believe that it is in the

best interest of the Settlement Classes to settle the Action and that the Released Claims be fully

and finally compromised, settled, and resolved with prejudice, pursuant to the terms and

conditions set forth in this Settlement Agreement.

       L.      ZoomInfo denies all allegations of wrongdoing and liability, denies all material

allegations in the Action, and believes that it would prevail in defeating class certification and at

any trial on the merits or summary judgment proceeding, but has similarly concluded that this

Settlement Agreement is desirable to avoid the time, risk, and expense of defending protracted

litigation, and to avoid the risk posed by the Settlement Classes’ claims for damages. ZoomInfo

thus desires to resolve finally and completely the pending claims of Plaintiff and the Settlement

Classes.

       M.      NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and

among Plaintiffs on behalf of the Settlement Classes, and ZoomInfo that, subject to Court

approval after a hearing as provided for in this Settlement Agreement, and in consideration of the

benefits flowing to the Parties from the settlement set forth herein, the Released Claims shall be

fully and finally compromised, settled, and released, and the Action shall be dismissed with

prejudice, upon and subject to the terms and conditions set forth in this Settlement Agreement.

                                          AGREEMENT

1.     DEFINITIONS.

       In addition to any definitions set forth elsewhere in this Settlement Agreement, the

following terms have the meanings specified below:

       1.1     “Action” means the case captioned Ramos, et al. v. ZoomInfo Technologies LLC,




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No. 21-cv-02032, pending in the United States District Court for the Northern District of Illinois.

       1.2     “Additional Litigation” means the case captioned Martinez v. ZoomInfo

Technologies LLC, No. C21-5725 MJP, pending in the United States District Court for the

Western District of Washington.

       1.3     “Approved Claim” means a Claim Form submitted by a Settlement Class

Member that is: (i) submitted timely and in accordance with the directions on the Claim Form

and the provisions of the Settlement Agreement; (ii) fully and truthfully completed with all

information required of a Settlement Class Member; and (iii) signed by the Settlement Class

Member, either physically or electronically.

       1.4     “California Settlement Class” means all California residents whose identity was

the subject of a directory preview page published by ZoomInfo and viewed for the first time

between January 9, 2020 and the date this Settlement is fully executed. Excluded from the

California Settlement Class are (1) individuals with directory pages whose only page views were

the result of “bot” attacks identified in ZoomInfo’s records; (2) any Judge or Magistrate

presiding over this action and members of their families, (3) ZoomInfo, ZoomInfo’s subsidiaries,

successors, predecessors, and any entity in which ZoomInfo has a controlling interest, (4)

persons who properly execute and file a timely request for exclusion from the class, and (5) the

legal representatives, successors, or assigns of any such excluded persons.

       1.5     “California Settlement Class Representative” means Plaintiff Kaitlin Brooks.

       1.6     “California Settlement Fund” means the non-reversionary cash settlement fund

that shall be established by ZoomInfo in the total amount of twelve million, four hundred ninety-

two thousand, one hundred eighty dollars ($12,492,180), subject to potential upward adjustments

as provided in Section 6.3. This amount shall be deposited in an Escrow Account by ZoomInfo




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no later than thirty (30) days after Preliminary Approval. From this California Settlement Fund,

the Settlement Administrator shall pay (i) Approved Claims of the California Settlement Class,

(ii) a proportional amount of the Settlement Administration Expenses, (iii) any incentive award

to the California Settlement Class Representative, and (iv) any Fee Award. The California

Settlement Fund shall be kept in an Escrow Account with permissions granted to the Settlement

Administrator to access said funds until such time as the above-listed payments are made. In no

event shall any amount paid by ZoomInfo into the California Settlement Fund, or any interest

earned thereon, revert to ZoomInfo or any other Released Party, except as set forth in Paragraph

9.4.

       1.7     “Claims Deadline” means the date by which all Claim Forms must be

postmarked or submitted on the Settlement Website to be considered timely and shall be set as a

date no later than sixty (60) days after the Notice Date. The Claims Deadline shall be clearly set

forth in the order granting Preliminary Approval, in the Notice, and in the Claim Form.

       1.8     “Claim Form” means the claim form attached hereto as Exhibit A (the online

Claim Form) and Exhibit B (the paper Claim Form attached to the postcard notice), as approved

by the Court. The Claim Form must be completed and physically signed or verified

electronically by any Settlement Class Members who wish to file a claim for a settlement

payment, and shall be available for submission on or download from the Settlement Website in

hardcopy form. The Claim Form will not require notarization, but will require the information

supplied to be true and correct. The online Claim Form will provide the option of having

settlement payments transmitted electronically through Venmo, Zelle, or check. Class Members

who submit a paper Claim Form that is approved will be sent a check via U.S. Mail.

       1.9     “Class Counsel” means J. Eli Wade-Scott and Michael Ovca of Edelson PC, and




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Philip L. Fraietta of Bursor & Fisher, P.A.

       1.10    “Class Representatives” means the California Settlement Class Representative,

the Illinois Settlement Class Representative, the Indiana Settlement Class Representative, and the

Nevada Settlement Class Representative.

       1.11    “Court” means the United States District Court for the Northern District of

Illinois, the Honorable Charles P. Kocoras presiding, or any judge who shall succeed him as

judge in this case.

       1.12    “Defendant” means ZoomInfo Technologies LLC, a Delaware corporation.

       1.13    “Defendant’s Counsel” means Martin L. Roth, William E. Arnault, Rachel B.

Haig, and Kate Walling of Kirkland & Ellis LLP.

       1.14    “Effective Date” means one business day following the later of: (i) the date upon

which the time expires for filing or noticing any appeal of the Final Approval Order; (ii) if there

is an appeal or appeals, other than an appeal or appeals solely with respect to the Fee Award or

incentive awards, (a) the date of completion, in a manner that finally affirms and leaves in place

the Final Approval Order without any material modification, of all proceedings arising out of the

appeal(s) (including, but not limited to, the expiration of all deadlines for motions for

reconsideration or petitions for review and/or certiorari, all proceedings ordered on remand, and

all proceedings arising out of any subsequent appeal(s) following decisions on remand); or

(b) the date of final dismissal of any appeal or the final dismissal of any proceeding on certiorari

with respect to the Final Approval Order.

       1.15    “Escrow Account” means the interest-bearing escrow account or accounts to be

established by the Settlement Administrator for the California Settlement Fund, Illinois

Settlement Fund, Indiana Settlement Fund, and Nevada Settlement Fund. Each Escrow Account




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shall be established under terms acceptable to Plaintiffs and Defendant at a depository institution

insured by the Federal Deposit Insurance Corporation that will constitute a court-approved

Qualified Settlement Fund (QSF) for federal tax purposes pursuant to Treas. Reg. § 1.468B-1.

The money in each Escrow Account shall be invested in the following types of accounts and/or

instruments and no other: (i) demand deposit accounts and/or (ii) time deposit accounts and

certificates of deposit, in either case with maturities of forty-five (45) days or less. The costs of

establishing each Escrow Account shall be proportionally deducted from the California

Settlement Fund, Illinois Settlement Fund, Indiana Settlement Fund, and Nevada Settlement

Fund. Any interest earned on any Escrow Accounts shall be considered part of that respective

state-specific Settlement Fund. The Settlement Administrator shall be responsible for all tax

filings with respect to any earnings on any Escrow Account and the payment of all taxes that

may be due on such earnings.

       1.16    “Fee Award” means the amount of attorneys’ fees and costs awarded by the

Court to Class Counsel to be paid from the California Settlement Fund, Illinois Settlement Fund,

Indiana Settlement Fund, and Nevada Settlement Fund.

       1.17    “Final Approval Hearing” means the hearing before the Court where the

Plaintiff will request the Final Approval Order to be entered by the Court confirming approval of

the Settlement Class for purposes of Settlement, approving the Settlement Agreement, and

determining the Fee Award and incentive award to the Class Representatives.

       1.18    “Final Approval Order” means the final approval order to be entered by the

Court confirming approval of the Settlement Class for purposes of Settlement, approving the

settlement of the Action in accordance with this Settlement Agreement after the Final Approval

Hearing, and dismissing the Action with prejudice.




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       1.19    “Illinois Settlement Class” means all Illinois residents whose identity was the

subject of a directory preview page published by ZoomInfo and viewed for the first time between

April 15, 2020 and the date this Settlement is fully executed. Excluded from the Illinois

Settlement Class are (1) individuals with directory pages whose only page views were the result

of “bot” attacks identified in ZoomInfo’s records; (2) any Judge or Magistrate presiding over this

action and members of their families, (3) ZoomInfo, ZoomInfo’s subsidiaries, successors,

predecessors, and any entity in which ZoomInfo has a controlling interest, (4) persons who

properly execute and file a timely request for exclusion from the class, and (5) the legal

representatives, successors, or assigns of any such excluded persons.

       1.20    “Illinois Settlement Class Representative” means Plaintiff Joselyn Ramos.

       1.21    “Illinois Settlement Fund” means the non-reversionary cash settlement fund that

shall be established by ZoomInfo in the total amount of nine million, six hundred forty-one

thousand, five hundred twenty dollars ($9,641,520), subject to potential upward adjustments as

provided in Section 6.3. This amount shall be deposited in an Escrow Account by ZoomInfo no

later than thirty (30) days after Preliminary Approval. From this Illinois Settlement Fund, the

Settlement Administrator shall pay (i) Approved Claims of the Illinois Settlement Class, (ii) a

proportional amount of the Settlement Administration Expenses, (iii) any incentive award to the

Illinois Settlement Class Representative, and (iv) any Fee Award. The Illinois Settlement Fund

shall be kept in an Escrow Account with permissions granted to the Settlement Administrator to

access said funds until such time as the above-listed payments are made. In no event shall any

amount paid by ZoomInfo into the Illinois Settlement Fund, or any interest earned thereon, revert

to ZoomInfo or any other Released Party, except as set forth in Paragraph 9.4.

       1.22    “Indiana Settlement Class” means all Indiana residents whose identity was the




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subject of a directory preview page published by ZoomInfo and viewed for the first time in the

two years prior to the date this Settlement is fully executed. Excluded from the Indiana

Settlement Class are (1) individuals with directory pages whose only page views were the result

of “bot” attacks identified in ZoomInfo’s records; (2) any Judge or Magistrate presiding over this

action and members of their families, (3) ZoomInfo, ZoomInfo’s subsidiaries, successors,

predecessors, and any entity in which ZoomInfo has a controlling interest, (4) persons who

properly execute and file a timely request for exclusion from the class, and (5) the legal

representatives, successors, or assigns of any such excluded persons.

       1.23    “Indiana Settlement Class Representative” means Plaintiff Carl Florian.

       1.24    “Indiana Settlement Fund” means the non-reversionary cash settlement fund

that shall be established by ZoomInfo in the total amount of two million, three hundred two

thousand, eighty dollars ($2,302,080), subject to potential upward adjustments as provided in

Section 6.3. This amount shall be deposited in an Escrow Account by ZoomInfo no later than

thirty (30) days after Preliminary Approval. From this Indiana Settlement Fund, the Settlement

Administrator shall pay (i) Approved Claims of the Indiana Settlement Class, (ii) a proportional

amount of the Settlement Administration Expenses, (iii) any incentive award to the Indiana

Settlement Class Representative, and (iv) any Fee Award. The Indiana Settlement Fund shall be

kept in an Escrow Account with permissions granted to the Settlement Administrator to access

said funds until such time as the above-listed payments are made. In no event shall any amount

paid by ZoomInfo into the Indiana Settlement Fund, or any interest earned thereon, revert to

ZoomInfo or any other Released Party, except as set forth in Paragraph 9.4.

       1.25    “Nevada Settlement Class” means all Nevada residents whose identity was the

subject of a directory preview page published by ZoomInfo and viewed for the first time in the




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two years prior to the date this Settlement is fully executed. Excluded from the Nevada

Settlement Class are (1) individuals with directory pages whose only page views were the result

of “bot” attacks identified in ZoomInfo’s records; (2) any Judge or Magistrate presiding over this

action and members of their families, (3) ZoomInfo, ZoomInfo’s subsidiaries, successors,

predecessors, and any entity in which ZoomInfo has a controlling interest, (4) persons who

properly execute and file a timely request for exclusion from the class, and (5) the legal

representatives, successors, or assigns of any such excluded persons.

       1.26    “Nevada Settlement Class Representative” means Plaintiff Francis Lauritzen.

       1.27    “Nevada Settlement Fund” means the non-reversionary cash settlement fund

that shall be established by ZoomInfo in the total amount of one million, three hundred thirty-one

thousand, fifty-five dollars ($1,331,055), subject to potential upward adjustments as provided in

Section 6.3. This amount shall be deposited in an Escrow Account by ZoomInfo no later than

thirty (30) days after Preliminary Approval. From this Nevada Settlement Fund, the Settlement

Administrator shall pay (i) Approved Claims of the Nevada Settlement Class, (ii) a proportional

amount of the Settlement Administration Expenses, (iii) any incentive award to the Nevada

Settlement Class Representative, and (iv) any Fee Award. The Nevada Settlement Fund shall be

kept in an Escrow Account with permissions granted to the Settlement Administrator to access

said funds until such time as the above-listed payments are made. In no event shall any amount

paid by ZoomInfo into the Nevada Settlement Fund, or any interest earned thereon, revert to

ZoomInfo or any other Released Party, except as set forth in Paragraph 9.4.

       1.28    “Notice” means the notice of this proposed Class Action Settlement Agreement

and Final Approval Hearing, which is to be sent to the Settlement Class in the manner set forth in




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this Agreement, fulfills the requirements of due process and Fed. R. Civ. P. 23, and is

substantially in the form of Exhibits C–J, attached hereto.

       1.29    “Notice Date” means the date by which notice is to be provided, which shall be a

date no later than twenty-one (21) days after entry of Preliminary Approval.

       1.30    “Objection/Exclusion Deadline” means the date by which a written objection to

this Settlement Agreement or a request for exclusion submitted by a person within the Settlement

Classes must be postmarked and/or filed with the Court, which shall be designated as eighty-four

(84) days after the Notice Date.

       1.31    “Plaintiffs” means, collectively, Joselyn Ramos, Kaitlin Brooks, Carl Florian,

and Francis Lauritzen.

       1.32    “Preliminary Approval” means the order preliminarily approving the Settlement

Agreement, appointing Class Counsel, certifying or finding the Settlement Class is likely to be

certified for purposes of entering the Final Approval Order, and approving the form and method

of distributing the Notice.

       1.33    “Released Claims” means any and all past and present claims or causes of action,

including any right of publicity laws in California, Illinois, Indiana, or Nevada, whether known

or unknown, including Unknown Claims, arising from or in connection with any alleged use of

an individual’s identity, persona, name, image, likeness, or personal information to advertise,

promote, or in connection with an offer for sale of any products or services, which are based

upon, arising from, or relating in any way to, the factual predicates of the Action or the

Additional Litigation.

       1.34    “Released Parties” means ZoomInfo and each of its respective parents,

subsidiaries, predecessors, successors, insurers, reinsurers, assigns, affiliates, attorneys, agents,




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representatives, employees, directors, shareholders, officers, trustees, and administrators.

       1.35    “Releasing Parties” means Plaintiffs and each Settlement Class Member and

their respective present or past heirs, executors, estates, administrators, assigns, and agents.

       1.36    “Settlement Administration Expenses” means the expenses incurred by or on

behalf of the Settlement Administrator in administering the Settlement Agreement, including

expenses relating to providing Notice, processing Claim Forms, disbursing payments and

mailing checks for settlement payments, and paying related tax expenses, escrow agent fees, and

other such related expenses, with all such expenses to be proportionally paid from each State-

Specific Settlement Fund, and Settlement Administration Expenses incurred on behalf of only

one State-Specific Settlement Fund shall be paid only from that respective State-Specific

Settlement Fund.

       1.37    “Settlement Administrator” means, subject to Court approval, Simpluris, Inc.,

which will provide the Notice, create and maintain the Settlement Website, receive and process

Claim Forms, send settlement payments to Settlement Class Members who submit Approved

Claims, be responsible for tax reporting, and perform such other settlement administration

matters set forth herein or contemplated by the Settlement.

       1.38    “Settlement Classes” means collectively the California Settlement Class, the

Illinois Settlement Class, the Indiana Settlement Class, and the Nevada Settlement Class.

       1.39    “Settlement Class Member” means a person who falls within the definition of

one of the California Settlement Class, the Illinois Settlement Class, the Indiana Settlement

Class, or the Nevada Settlement Class, and who has not submitted a valid request for exclusion.

       1.40    “Settlement Website” means the website to be created, launched, and maintained

by the Settlement Administrator, which allows for the electronic submission of Claim Forms and




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provides access to relevant case documents, including the Notice and information about the

submission of Claim Forms.

        1.41   “State-Specific Settlement Funds” means each of the California Settlement

Fund, the Illinois Settlement Fund, the Indiana Settlement Fund, and the Nevada Settlement

Fund.

        1.42   “Unknown Claims” means claims that could have been raised in the Action or

the Additional Litigation and that any or all of the Releasing Parties do not know or suspect to

exist, which, if known by him or her, might affect his or her agreement to release the Released

Parties or the Released Claims or might affect his or her decision to agree, object or not to object

to the Settlement. Upon the Effective Date, the Releasing Parties shall be deemed to have, and

shall have, expressly waived and relinquished, to the fullest extent permitted by law, the

provisions, rights and benefits of § 1542 of the California Civil Code, which provides as follows:

        A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
        CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
        EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
        RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
        MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
        DEBTOR OR RELEASED PARTY.

Upon the Effective Date, the Releasing Parties also shall be deemed to have, and shall have,

waived any and all provisions, rights and benefits conferred by any law of any state or territory

of the United States, or principle of common law, or the law of any jurisdiction outside of the

United States, which is similar, comparable or equivalent to § 1542 of the California Civil Code.

The Releasing Parties acknowledge that they may discover facts in addition to or different from

those that they now know or believe to be true with respect to the subject matter of this release,

but that it is their intention to finally and forever settle and release the Released Claims,

notwithstanding any Unknown Claims they may have, as that term is defined in this paragraph.



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2.   SETTLEMENT RELIEF.

     2.1.   Settlement Payments to Settlement Class Members.

            (a)     Settlement Class Members shall have until the Claims Deadline to submit

     a Claim Form. The Settlement Administrator shall have sole and final authority to

     determine if a Claim Form is an Approved Claim. Each Settlement Class Member who

     submits an Approved Claim shall be entitled to a payment of a pro rata share of their

     respective State-Specific Settlement Fund, after payment of Settlement Administration

     Expenses, the Fee Award, and any incentive award to that Settlement Class’s respective

     class representative.

            (b)     Within twenty-eight (28) days of the Effective Date, or such other date as

     the Court may set, the Settlement Administrator shall send settlement payments from the

     State-Specific Settlement Fund to Settlement Class Members with Approved Claims by

     electronic deposit or by check via First Class U.S. Mail to the address provided on the

     Claim Form, as elected by the Settlement Class Member with an Approved Claim.

            (c)     Each payment issued to a Settlement Class Member by check will state on

     the face of the check that it will become null and void unless cashed within one hundred

     and eighty (180) calendar days after the date of issuance.

            (d)     In the event that an electronic deposit to a Settlement Class Member is

     unable to be processed, the Settlement Administrator shall attempt to contact the

     Settlement Class Member within twenty-eight (28) days thereafter to correct the problem.

            (e)     To the extent that a check issued to an Settlement Class Member is not

     cashed within one hundred and eighty (180) days after the date of issuance or an

     electronic deposit is unable to be processed within one hundred and eighty (180) days of




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       the first attempt, such funds shall revert to the respective State-Specific Settlement Fund

       to be distributed pro rata to Settlement Class Members with Approved Claims if

       practicable, or in a manner as otherwise directed by the Court upon application made by

       Class Counsel.

       2.2.    Prospective Relief.

               (a)      Defendant shall not use any Settlement Class Member’s identity to

       advertise any of Defendant’s products or services. For the avoidance of doubt, Defendant

       shall not use any Settlement Class Member’s full name in connection with any

       advertisement to subscribe to ZoomInfo.com’s database.

               (b)      Defendant shall implement the changes to its website(s) required by

       subsection (a) within thirty (30) days after the entry of the Final Approval Order.

3.     RELEASE.

       Upon the Effective Date, and in consideration of the settlement relief and other

consideration described herein, the Releasing Parties, and each of them, shall be deemed to have

released, and by operation of the Final Approval Order shall have, fully, finally, and forever

released, acquitted, relinquished and completely discharged the Released Parties from any and all

Released Claims.

4.     NOTICE TO THE SETTLEMENT CLASSES.

       4.1.    Settlement Class List. Defendant shall provide the Settlement Administrator, to

the extent available to Defendant, a list of all names, email addresses, and U.S. Mail addresses of

all persons known to be in the Settlement Classes (the “Settlement Class List”) as soon as

practicable, but no later than May 24, 2024. The Settlement Administrator shall keep the

Settlement Class List and all personal information obtained therefrom, including the identity and




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addresses of all persons, strictly confidential. The Settlement Class List may not be used by the

Settlement Administrator for any purpose other than advising specific individual class members

of their rights, obtaining email and mailing addresses for providing Notice and settlement

payments, and otherwise effectuating the terms of the Settlement Agreement or the duties arising

thereunder, including the provision of Notice.

       4.2.    The Notice shall consist of the following:

               (a)    Direct Notice via Email. No later than the Notice Date, the Settlement

       Administrator shall send Notice via email substantially in the form attached as Exhibit C

       (for the California Settlement Class), Exhibit D (for the Illinois Settlement Class), Exhibit

       E (for the Indiana Settlement Class), and Exhibit F (for the Nevada Settlement Class),

       along with an electronic link to the Claim Form, to all Settlement Class Members for

       whom a valid email address is contained in the Settlement Class List. In the event that the

       transmission of email notice results in any “bounce-backs,” the Settlement Administrator

       shall, where reasonable, correct any issues that may have caused the “bounce-back” to

       occur and make a second attempt to re-send the email notice.

               (b)    Direct Notice via U.S. Mail. No later than the Notice date, the Settlement

       Administrator shall, where it has identified U.S. Mail addresses, send Notice in the form

       of Exhibit G (for the California Settlement Class), Exhibit H (for the Illinois Settlement

       Class ), Exhibit I (for the Indiana Settlement Class), Exhibit J (for the Nevada Settlement

       Class) based on the Settlement Class to which such person belongs. Prior to sending

       Notice via U.S. Mail, the Settlement Administrator shall take reasonable steps to identify

       and/or update Settlement Class Members’ U.S. Mail addresses, including updating any

       addresses on the Class List through the National Change of Address database, performing




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     a “skip trace” to attempt to identify addresses missing from the Class List, and utilizing

     other available resources deemed suitable by the Settlement Administrator. The

     Settlement Administrator shall take all reasonable steps to obtain the correct address of

     any Settlement Class Members for whom Notice is returned by the U.S. Postal Service as

     undeliverable and shall attempt re-mailings.

             (c)     Reminder Notice. Thirty (30) days prior to the Claims Deadline and seven

     (7) days prior to the Claims Deadline, the Settlement Administrator shall again send

     Notice via email along with an electronic link to the Claim Form, to all Settlement Class

     Members who have yet submitted a Claim Form and for whom a valid email address is

     available in the Settlement Class List and no “bounce-back” was received. The reminder

     emails shall be substantially in the form of Exhibits C–F, with minor, non-material

     modifications to indicate that it is a reminder email rather than an initial notice. If the

     number of Claim Forms submitted by Settlement Class Members does not equal at least

     ten percent (10%) of each respective class, then the Settlement Administrator shall send a

     final reminder notice two (2) days before the Claims Deadline substantially in the form of

     Exhibits C–F, with minor, non-material modifications to indicate that it is a final notice.

             (d)     Settlement Website. Within seven (7) days after Preliminary Approval,

     Notice shall be provided on the Settlement Website. The Notice provided on the

     Settlement Website shall be substantially in the form of Exhibit B hereto.

             (e)     CAFA Notice. Pursuant to 28 U.S.C. § 1715, not later than ten (10) days

     after this Agreement is filed with the Court, Defendant shall cause to be served upon the

     Attorney General of the United States and all appropriate State officials notice of the

     proposed settlement as required by law. Defendant shall certify compliance to the Court.




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        4.3.    The Notice shall also advise Settlement Class Members of their rights under the

Settlement, including the right to be excluded from, comment upon, and/or object to the

Settlement Agreement or its terms. The Notice shall specify that any objection to this Settlement

Agreement, and any papers submitted in support of said objection, shall be received by the Court

at the Final Approval Hearing, only if, on or before the Objection/Exclusion Deadline approved

by the Court and specified in the Notice, the person making an objection files notice of his or her

intention to do so and at the same time: (a) files copies of such papers he or she proposes to

submit at the Final Approval Hearing with the Clerk of the Court, (b) files copies of such papers

through the Court’s CM/ECF system if the objection is from a Settlement Class Member

represented by counsel, and (c) sends copies of such papers via email, mail, hand, or overnight

delivery service to both Class Counsel and Defendant’s Counsel.

        4.4.    Right to Object. Any Settlement Class Member who intends to object to this

Settlement Agreement must present the objection in writing, which must be personally signed by

the objector, and must include: (a) the person’s full name and current address; (b) a statement

that he or she believes himself or herself to be a member of the California Settlement Class, the

Illinois Settlement Class, the Indiana Settlement Class, or the Nevada Settlement Class; (c)

whether the objection applies only to the objector, to a specific subset of the objector’s respective

class, or to the entirety of the objector’s class; (d) the specific grounds for the objection; (e) all

documents or writings that the person desires the Court to consider; (f) the name and contact

information of any and all attorneys representing, advising, or in any way assisting the objector

in connection with the preparation or submission of the objection or who may profit from the

pursuit of the objection; and (g) a statement indicating whether the objector intends to appear at

the Final Approval Hearing (either personally or through counsel, who must file an appearance




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or seek pro hac vice admission). All written objections must be filed with the Court or

postmarked, emailed, or delivered to the Settlement Administrator, Class Counsel and

Defendant’s Counsel no later than the Objection/Exclusion Deadline. Any Settlement Class

Member who fails to timely file a written objection with the Court and notice of his or her intent

to appear at the Final Approval Hearing in accordance with the terms of this Section as detailed

in the Notice, and at the same time provide copies to designated counsel for the Parties, shall not

be permitted to object to this Settlement Agreement at the Final Approval Hearing, shall be

foreclosed from seeking any review of this Settlement Agreement or the Final Approval Order

by appeal or other means, and shall be deemed to have waived his or her objections and be

forever barred from making any such objections in the Action or in any other action or

proceeding.

       4.5.    Right to Request Exclusion. Any Settlement Class Member may submit a

request for exclusion from the Settlement on or before the Objection/Exclusion Deadline. To be

valid, any request for exclusion must (a) be in writing; (b) identify the case name Ramos, et al. v.

ZoomInfo Technologies LLC, No. 21-cv-02032 (N.D. Ill.); (c) identify if the person seeking

exclusion is a member of the California Settlement Class, the Illinois Settlement Class, the

Indiana Settlement Class, or the Nevada Settlement Class; (d) state the full name and current

address of the person seeking exclusion; (e) be signed by the person(s) seeking exclusion; and (f)

be postmarked or received by the Settlement Administrator on or before the Objection/Exclusion

Deadline. The Settlement Administrator shall create a dedicated email address to receive

exclusion requests electronically. Each request for exclusion must also contain a statement to the

effect that “I hereby request to be excluded from the settlement in Ramos, et al. v. ZoomInfo

Technologies LLC, No. 21-cv-02032 (N.D. Ill.).” A request for exclusion that does not include




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all of the foregoing information, that is sent to an address or email address other than that

designated in the Notice, or that is not postmarked or electronically delivered to the Settlement

Administrator within the time specified, shall be invalid and the persons serving such a request

shall be deemed to remain a Settlement Class Member and shall be bound by this Settlement

Agreement, if approved. Any person who elects to request exclusion from a Settlement Class

shall not (a) be bound by any orders or the Final Approval Order, (b) receive a settlement

payment under this Agreement, (c) gain any rights by virtue of this Agreement, or (d) be entitled

to object to any aspect of this Settlement Agreement or the Final Approval Order or Alternative

Approval Order. No person may request to be excluded from a Settlement Class through “mass”

or “class” opt-outs, meaning that each individual who seeks to opt out must send an individual,

separate request to the Settlement Administrator that complies with all requirements of this

paragraph.

5.     SETTLEMENT ADMINISTRATION.

       5.1.    The Settlement Administrator shall, under the supervision of the Court, administer

the relief provided by this Settlement Agreement by processing Claim Forms in a rational,

responsive, cost effective, and timely manner. The Settlement Administrator shall maintain

reasonably detailed records of its activities under this Settlement Agreement. The Settlement

Administrator shall maintain all such records as are required by applicable law in accordance

with its normal business practices and such records will be made available to Class Counsel and

Defendant’s Counsel upon request. The Settlement Administrator shall also provide reports and

other information to the Court as the Court may require. The Settlement Administrator shall

provide Class Counsel and Defendant’s Counsel with information concerning Notice,

administration, and implementation of the Settlement Agreement. Should the Court request, the




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Parties, in conjunction with the Settlement Administrator, shall submit a timely report to the

Court summarizing the work performed by the Settlement Administrator, including a report of all

amounts from the State-Specific Settlement Funds paid on account of Approved Claims. Without

limiting the foregoing, the Settlement Administrator shall:

                 (a)   receive exclusion forms and other requests from Settlement Class

       Members and promptly provide a copy of such requests to Class Counsel and

       Defendant’s Counsel upon receipt. If the Settlement Administrator receives any exclusion

       forms or other requests from the Settlement Class after the Objection/Exclusion Deadline,

       the Settlement Administrator shall promptly provide copies thereof to Class Counsel and

       Defendant’s Counsel;

                 (b)   provide weekly reports to Class Counsel and Defendant’s Counsel,

       including, without limitation, reports regarding the number of Claim Forms received, the

       current number approved by the Settlement Administrator at that time from each of the

       Settlement Classes, and the number of opt-outs received;

                 (c)   make available for inspection by Class Counsel or Defendant’s Counsel

       the Claim Forms, any documentation submitted in support thereof, and any

       correspondence received by the Settlement Administrator at any time upon reasonable

       notice;

                 (d)   pay all Approved Claims according to the terms of this Settlement

       Agreement;

                 (e)   make all tax filings related to the Escrow Accounts, including making any

       required “information returns” as that term is used in 26 U.S.C. § 1, et seq. Neither Class




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       Counsel nor Defendant makes any representations regarding the tax treatment of the

       Escrow Account, State-Specific Settlement Funds or any portion thereof; and

               (f)      respond to questions about the Settlement from Settlement Class

       Members.

       5.2.    The Settlement Administrator shall employ reasonable procedures to screen

claims for abuse or fraud. The Settlement Administrator, after consultation with Class Counsel,

shall reject Claim Forms where there is evidence of abuse or fraud.

       5.3.    The Settlement Administrator shall reject any Claim Form that does not contain

all requested information. The Settlement Administrator shall provide the individual with an

opportunity to cure any deficient Claim Form within twenty-one (21) days after notice to such

individual. If the individual fails to cure within the required time, the claim shall be rejected.

       5.4.    In the exercise of their duties outlined in this Agreement, the Settlement

Administrator shall have the right to reasonably request additional information from the Parties

or any Settlement Class Member.

6.     TERMINATION OF SETTLEMENT, CONFIRMATORY DISCOVERY, AND
       POTENTIAL UPWARD ADJUSTMENT OF STATE-SPECIFIC SETTLEMENT
       FUNDS.

       6.1.    Termination. Subject to Paragraph 9 below, the Class Representatives (on behalf

of any Settlement Class) or Defendant shall have the right to terminate this Settlement

Agreement by providing written notice of the election to do so to all other Parties within fourteen

(14) days of any of the following events: (i) the Court’s refusal to grant Preliminary Approval of

this Agreement in any material respect; (ii) the Court’s refusal to grant final approval of this

Agreement in any material respect; (iii) the Court’s refusal to enter the Final Approval Order in

any material respect; (iv) the date upon which the Final Approval Order is modified or reversed




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in any material respect by the Court of Appeals or the Supreme Court; or (v) the date upon which

an Alternative Approval Order, as defined in Paragraph 9.1(d) of this Agreement, is modified or

reversed in any material respect by the Court of Appeals or the Supreme Court.

       6.2.    Settlement Class Membership and Confirmatory Discovery. The sizes of the

Settlement Classes are subject to confirmatory discovery. ZoomInfo will use, and membership in

the final Settlement Classes will be conclusively determined by application of, the same query

methodology that ZoomInfo used during discovery and to create the class size estimates in

preparation for mediation, applied across the time periods in the respective definitions of each of

the Settlement Classes. ZoomInfo will state the query methodology in the confirmatory

discovery. This confirmatory discovery shall be completed no later than May 24, 2024.

       6.3.    Adjustment of State-Specific Settlement Funds. If the confirmatory discovery

shows that there are more than 555,208 California Settlement Class Members, the amount of the

California Settlement Fund shall increase by $22.50 per California Settlement Class Member

above 555,208. If the confirmatory discovery shows that there are more than 321,384, Illinois

Settlement Class Members, the amount of the Illinois Settlement Fund shall increase by $30.00

per Illinois Settlement Class Member above 321,384. If the confirmatory discovery shows that

there are more than 76,736 Indiana Settlement Class Members, the amount of the Indiana

Settlement Fund shall increase by $30.00 per Indiana Settlement Class Member above 76,736. If

the confirmatory discovery shows that there are more than 59,158 Nevada Settlement Class

Members, the amount of the Nevada Settlement Fund shall increase by $22.50 per Nevada

Settlement Class Member above 59,158.

7.     PRELIMINARY APPROVAL ORDER AND FINAL APPROVAL ORDER.

       7.1.    Preliminary Approval. Following the execution of this Settlement Agreement,




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Class Counsel shall submit this Agreement together with its exhibits to the Court and shall move

the Court for entry of Preliminary Approval of the settlement set forth in this Agreement, which

shall include, among other provisions, a request that the Court:

               (a)     appoint Class Counsel and the Class Representatives;

               (b)     certify the Settlement Classes for settlement purposes only and/or find that

       the Settlement Classes are likely to be certified for purposes of entering the Final

       Approval Order under Federal Rule of Civil Procedure 23;

               (c)     preliminarily approve this Agreement for purposes of disseminating

       Notice to the Settlement Class Members;

               (d)     approve the form and contents of the Notice, the Claim Form, as well as

       the method of dissemination;

               (e)     schedule a Final Approval Hearing after the expiration of the CAFA

       notice period to review any comments and/or objections regarding this Agreement; to

       consider its fairness, reasonableness and adequacy; to consider the application for an

       award of attorneys’ fees, incentive awards to the Class Representatives, and

       reimbursement of expenses; and to consider whether the Court shall issue a Final

       Approval Order approving this Agreement, confirming the certification of the Settlement

       Classes, and dismissing the Action with prejudice.

       7.2     Promptly after obtaining leave to file an amended complaint in the Action to

include the claims alleged in the Additional Litigation, Plaintiffs’ counsel shall seek to dismiss

the Additional Litigation without prejudice.

       7.3     Final Approval. After Notice is given, Class Counsel shall move the Court for a

Final Approval Order, which shall include, among other provisions, a request that the Court:




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            (b)     find that it has personal jurisdiction over all Settlement Class Members

     and subject matter jurisdiction to approve this Settlement Agreement, including all

     attached exhibits;

            (c)     approve the Settlement Agreement as fair, reasonable and adequate as to,

     and in the best interests of, the Settlement Class Members;

            (d)     direct the Parties and their counsel to implement and consummate the

     Settlement Agreement according to its terms and conditions;

            (e)     find that the Notice implemented pursuant to the Settlement Agreement:

     (i) constitutes the best practicable notice under the circumstances; (ii) constitutes notice

     that is reasonably calculated, under the circumstances, to apprise Settlement Class

     Members of the pendency of the Settlement and their rights to object to or in the case of

     Settlement Class Members to exclude themselves from this Settlement Agreement and to

     appear at the Final Approval Hearing; (iii) is reasonable and constitutes due, adequate

     and sufficient notice to all persons entitled to receive notice; and (iv) meets all applicable

     requirements of the Federal Rules of Civil Procedure, the Due Process Clause of the

     United States Constitution, and the rules of the Court;

            (f)     finally certify or confirm certification of the Settlement Classes under

     Federal Rule of Civil Procedure 23, finding that the Class Representatives and Class

     Counsel adequately represented the Settlement Classes for purposes of entering into and

     implementing the Agreement;

            (g)     dismiss this Action on the merits and with prejudice, without fees or costs

     to any party except as provided in this Settlement Agreement;

            (h)     incorporate the Release set forth above in Paragraph 3.1, make the Release




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       effective as of the date of the Final Approval Order, and forever discharge the Released

       Parties as set forth herein;

               (i)     authorize the Parties, without further approval from the Court, to agree to

       and adopt such amendments, modifications and expansions of the Settlement Agreement

       and its implementing documents (including all exhibits to this Agreement) that shall be

       consistent in all material respects with the Final Approval Order; and

               (j)     without affecting the finality of the Final Approval Order, stating that the

       Parties will submit to the jurisdiction of the Court as to all matters relating to the

       administration, consummation, enforcement, and interpretation of the Settlement

       Agreement and the Final Approval Order, and for any other necessary purpose, to the

       extent a subsequent action is necessary to effectuate such purpose.

       7.4     Cooperation. The Parties shall, in good faith, cooperate, assist, and undertake all

reasonable actions and steps in order to accomplish these required events on the schedule set by

the Court, subject to the terms of this Settlement Agreement.

8.     CLASS COUNSEL’S ATTORNEYS’ FEES, REIMBURSEMENT OF EXPENSES
       AND INCENTIVE AWARD.

       8.1     Defendant agrees that Class Counsel is entitled to reasonable attorneys’ fees and

unreimbursed expenses incurred as the Fee Award from the State-Specific Settlement Funds. The

amount of the Fee Award shall be determined by the Court based on a petition from Class

Counsel. Class Counsel has agreed, with no consideration from Defendant, to limit their request

for attorneys’ fees and unreimbursed costs to thirty-five percent (35%) of the total value of the

State-Specific Settlement Funds, to be paid proportionally from each and after proportional

Settlement Administration Expenses and incentive awards are deducted. Defendant may

challenge the amounts requested. Should the Court award less than the amount sought by Class



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Counsel, the difference in the amount sought and the amount ultimately awarded pursuant to this

Section shall remain in the State-Specific Settlement Funds and be distributed to class members

as settlement payments.

       8.2     The Fee Award shall be payable within seven (7) days after entry of the Court’s

Final Approval Order to any Class Counsel executing the Undertaking Regarding Attorneys’

Fees and Costs (the “Undertaking”), attached hereto as Exhibit K, and providing relevant

payment routing information, tax I.D. numbers, and necessary forms to the Settlement

Administrator. If for any reason the Final Approval Order is reversed or rendered void as a result

of an appeal(s), then any persons or firms who shall have received such funds shall be jointly and

severally liable for payments made pursuant to this subparagraph, and shall return such funds to

the Settlement Fund. Additionally, should any parties to the Undertaking dissolve, merge,

declare bankruptcy, become insolvent, or cease to exit prior to the final payment to Settlement

Payment Class Members, those parties shall execute a new Undertaking guaranteeing repayment

of funds within fourteen (14) days of such an occurrence. Payment of any amount of the Fee

Award to Class Counsel not executing an Undertaking shall be paid the Fee Award by the

Settlement Administrator within five (5) business days after the Effective Date and after the

receipt of payment instructions and tax forms from such firm.

       8.3     In addition to any payment to which they may be entitled under this Agreement,

and in recognition of the time and effort they expended on behalf of the Settlement Classes, the

Parties agree that, subject to the Court’s approval, the Plaintiffs shall each be entitled to an

incentive award as follows: seven hundred fifty dollars ($750) to the California Settlement Class

Representative; one thousand dollars ($1,000) to the Illinois Settlement Class Representative;

one thousand dollars ($1,000) to the Indiana Settlement Class Representative; and seven hundred




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fifty dollars ($750) to the Nevada Settlement Class Representative. Each incentive award, as

determined by the Court, shall be paid from their respective State-Specific Settlement Fund

within seven (7) days after the Effective Date. Payment of the incentive awards shall be made via

check made out to each class representative, sent in care of Class Counsel.

9.     CONDITIONS OF SETTLEMENT, EFFECT OF DISAPPROVAL,
       CANCELLATION OR TERMINATION.

       9.1.    The Effective Date of this Settlement Agreement shall not occur unless and until

each and every one of the following events occurs:

               (a)     this Agreement has been signed by the Parties and Class Counsel;

               (b)     the Court has entered an order granting Preliminary Approval of the

       Agreement;

               (c)     the Court has entered a Final Approval Order finally approving the

       Agreement, or a judgment substantially consistent with this Settlement Agreement that

       has become final and unappealable, following Notice and a Final Approval Hearing, as

       provided in the Federal Rules of Civil Procedure; and

               (d)     in the event that the Court enters an approval order and final judgment in a

       form other than that provided above (“Alternative Approval Order”) to which the Parties

       have consented, that Alternative Approval Order has become final and unappealable.

       9.2.    If some or all of the conditions specified in Paragraph 9.1 are not met, or in the

event that this Settlement Agreement is not approved by the Court, or the settlement set forth in

this Agreement is terminated or fails to become effective in accordance with its terms, then this

Settlement Agreement shall be canceled and terminated subject to Paragraph 9.3, unless Class

Counsel and Defendants’ Counsel mutually agree in writing to proceed with this Agreement. If

any Party is in material breach of the terms hereof, any other Party, provided that it is in



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substantial compliance with the terms of this Agreement, may terminate this Agreement on

notice to all other Parties. Notwithstanding anything herein, the Parties agree that the Court’s

decision as to the amount of the Fee Award to Class Counsel set forth above or the incentive

award to the Class Representatives, regardless of the amounts awarded, shall not prevent the

Agreement from becoming effective, nor shall it be grounds for termination of the Agreement.

       9.3.    If this Agreement is terminated or fails to become effective for the reasons set

forth in Paragraphs 6.1, 9.1, or 9.2, the Parties shall be restored to their respective positions in

the Action as of the date this Agreement is fully executed. In such event, any Final Approval

Order or other order entered by the Court in accordance with the terms of this Agreement shall

be treated as vacated, nunc pro tunc, as if this Agreement had never been entered into.

       9.4.    In the event the Settlement is terminated or fails to become effective for any

reason, the Settlement Fund, together with any earnings thereon at the same rate as earned, less

any taxes paid or due, and less Settlement Administrative Expenses actually incurred and paid or

payable from the Settlement Funds, shall be returned to Defendant within thirty (30) calendar

days after written notification of such event, in accordance with instructions provided by

Defendant’s Counsel to the Settlement Administrator.

10.    MISCELLANEOUS PROVISIONS.

       10.1.   The Parties: (a) acknowledge that it is their intent to consummate this Agreement;

and (b) agree, subject to their fiduciary and other legal obligations, to cooperate to the extent

reasonably necessary to effectuate and implement all terms and conditions of this Agreement and

to exercise their reasonable best efforts to accomplish the foregoing terms and conditions of this

Settlement Agreement. Class Counsel and Defendant’s Counsel agree to cooperate with one

another in seeking entry of Preliminary Approval and the Final Approval Order, and promptly to




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agree upon and execute all such other documentation as may be reasonably required to obtain

final approval of the Settlement Agreement.

       10.2.   Each signatory to this Agreement represents and warrants (a) that he, she, or it has

all requisite power and authority to execute, deliver, and perform this Settlement Agreement and

to consummate the transactions contemplated herein, (b) that the execution, delivery, and

performance of this Settlement Agreement and the consummation by it of the actions

contemplated herein have been duly authorized by all necessary corporate action on the part of

each signatory, and (c) that this Settlement Agreement has been duly and validly executed and

delivered by each signatory and constitutes its legal, valid, and binding obligation.

       10.3.   The Parties intend this Settlement Agreement to be a final and complete

resolution of all disputes between them with respect to the Released Claims by Plaintiffs and the

Releasing Parties, and each or any of them, on the one hand, against the Released Parties, and

each or any of the Released Parties, on the other hand. Accordingly, the Parties agree not to

assert in any forum that the Action were brought by Plaintiff or defended by Defendant, or each

or any of them, in bad faith or without a reasonable basis.

       10.4.   The Parties have relied upon the advice and representation of their respective

counsel, selected by them, concerning the claims hereby released. The Parties have read and

understand fully this Settlement Agreement and have been fully advised as to the legal effect

hereof by counsel of their own selection and intend to be legally bound by the same.

       10.5.   Whether the Effective Date occurs or this Settlement Agreement is terminated,

neither this Settlement Agreement nor the terms contained herein, nor any court order,

communication, act performed, or document executed pursuant to or in furtherance of this

Settlement Agreement or the Settlement:




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            (a)     is, may be deemed, or shall be used, offered, or received against the

     Released Parties, or each or any of them as an admission, concession, or evidence of the

     validity of any Released Claims, the appropriateness of class certification, the truth of

     any fact alleged by Plaintiff, the deficiency of any defense that has been or could have

     been asserted in the Action, the violation of any law or statute, the reasonableness of any

     of the State-Specific Settlement Funds or the Fee Award, or of any alleged wrongdoing,

     liability, negligence, or fault of the Released Parties, or any of them;

            (b)     is, may be deemed, or shall be used, offered, or received against

     Defendant as an admission, concession, or evidence of any fault, misrepresentation, or

     omission with respect to any statement or written document approved or made by the

     Released Parties, or any of them;

            (c)     is, may be deemed, or shall be used, offered, or received against Plaintiffs

     or the Settlement Classes, or each or any of them as an admission, concession, or

     evidence of the infirmity or strength of any claims asserted in the Action, the truth or

     falsity of any fact alleged by Defendant, or the availability or lack of availability of

     meritorious defenses to the claims raised in the Action;

            (d)     is, may be deemed, or shall be used, offered or received against the

     Released Parties, or each or any of them as an admission or concession with respect to

     any liability, negligence, fault, or wrongdoing as against any Released Parties, in any

     civil, criminal, or administrative proceeding in any court, administrative agency, or other

     tribunal. However, the Settlement, this Settlement Agreement, and any acts performed

     and/or documents executed in furtherance of or pursuant to this Settlement Agreement

     and/or Settlement may be used in any proceedings as may be necessary to effectuate the




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       provisions of this Settlement Agreement. Moreover, if this Settlement Agreement is

       approved by the Court, any of the Released Parties may file this Settlement Agreement

       and/or the Final Approval Order in the Additional Litigation or in any action that may be

       brought against such parties, in order to support a defense or counterclaim based on

       principles of res judicata, collateral estoppel, release, good faith settlement, judgment bar

       or reduction, or any other theory of claim preclusion or issue preclusion, or similar

       defense or counterclaim;

               (e)     is, may be deemed, or shall be construed against Plaintiffs and the

       Settlement Classes, or each or any of them, or against the Released Parties, or each or any

       of them, as an admission or concession that the consideration to be given hereunder

       represents an amount equal to, less than, or greater than that amount that could have or

       would have been recovered after trial; and

               (f)     is, may be deemed, or shall be construed as or received in evidence as an

       admission or concession against Plaintiffs and the Settlement Classes, or each and any of

       them, or against the Released Parties, or each or any of them, that any of Plaintiffs’

       claims are with or without merit or that damages recoverable in the Action would have

       exceeded or would have been less than any particular amount.

       10.6.   The headings used herein are used for the purpose of convenience only and are

not meant to have legal effect.

       10.7.   The waiver by one Party of any breach of this Agreement by any other Party shall

not be deemed as a waiver of any other prior or subsequent breaches of this Agreement.

       10.8.   All of the exhibits to this Settlement Agreement are material and integral parts

hereof and are fully incorporated herein by reference.




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         10.9.   This Agreement and its exhibits set forth the entire agreement and understanding

of the Parties with respect to the matters set forth herein, and supersede all prior negotiations,

agreements, arrangements, and undertakings with respect to the matters set forth herein. No

representations, warranties, or inducements have been made to any party concerning this

Settlement Agreement or its exhibits other than the representations, warranties, and covenants

contained and memorialized in such documents. This Agreement may be amended or modified

only by a written instrument signed by or on behalf of all Parties or their respective successors-

in-interest.

         10.10. Except as otherwise provided herein, each Party shall bear its own attorneys’ fees

and costs incurred in any way related to the Action or related cases mentioned herein.

         10.11. Plaintiffs represents and warrants that they have not assigned any claim or right or

interest relating to any of the Released Claims against the Released Parties to any other person or

party and that they are fully entitled to release the same.

         10.12. Each counsel or other person executing this Settlement Agreement, any of its

exhibits, or any related settlement documents on behalf of any party hereto, hereby warrants and

represents that such person has the full authority to do so and has the authority to take

appropriate action required or permitted to be taken pursuant to the Agreement to effectuate its

terms.

         10.13. This Agreement may be executed in one or more counterparts. All executed

counterparts and each of them shall be deemed to be one and the same instrument. Signature by

digital, facsimile, or in PDF format will constitute sufficient execution of this Agreement. A

complete set of original executed counterparts shall be filed with the Court if the Court so

requests.




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       10.14. The Court shall retain jurisdiction with respect to implementation and

enforcement of the terms of this Agreement, and all Parties hereto submit to the jurisdiction of

the Court for purposes of implementing and enforcing the settlement embodied in this

Agreement.

       10.15. This Settlement Agreement shall be governed by and construed in accordance

with the laws of the State of Illinois without reference to the conflicts of laws provisions thereof.

       10.16. This Settlement Agreement is deemed to have been prepared by counsel for all

Parties, as a result of arm’s-length negotiations among the Parties. Whereas all Parties have

contributed substantially and materially to the preparation of this Agreement, it shall not be

construed more strictly against one party than another.

       10.17. Where this Settlement Agreement requires notice to the Parties, such notice shall

be sent to the undersigned counsel:

         If to Class Counsel:                         If to Defendant’s Counsel:

         Michael W. Ovca                              Martin L. Roth
         movca@edelson.com                            rothm@kirkland.com
         Edelson P.C.                                 Kirkland & Ellis LLP
         350 North LaSalle Street, 14th Floor         300 North LaSalle Street
         Chicago, Illinois 60654                      Chicago, Illinois 60654



                   [SIGNATURES APPEAR ON THE FOLLOWING PAGE.]




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         IN WITNESS WHEREOF, the Parties hereto have caused this Settlement Agreement to

be executed, by their duly authorized attorneys.

                                         KAITLIN BROOKS, individually and on behalf of the
                                         California Settlement Class,

Dated: 27/03/2024                        By:


                                         JOSELYN RAMOS, individually and on behalf of the
                                         Illinois Settlement Class,

Dated:                                   By:


                                         CARL FLORIAN, individually and on behalf of the
                                         Indiana Settlement Class,

Dated: 27/03/2024
                                                  Carl Florian
                                         By: Carl Florian (Mar 27, 2024 16:06 EDT)


                                         FRANCIS LAURITZEN, individually and on behalf
                                         of the Nevada Settlement Class,
                                                  Francis Lauritzen
Dated: 27/03/2024                        By: Francis Lauritzen (Mar 27, 2024 09:43 PDT)


                                         EDELSON PC
                                         Attorneys for Plaintiffs

Dated:                                   By:


                                         BURSOR & FISHER, P.A.
                                         Attorneys for Plaintiffs

Dated:                                   By:




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Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 40 of 83 PageID #:1830




         IN WITNESS WHEREOF, the Parties hereto have caused this Settlement Agreement to

be executed, by their duly authorized attorneys.

                                         KAITLIN BROOKS, individually and on behalf of the
                                         California Settlement Class,

Dated:                                   By:


                                         JOSELYN RAMOS, individually and on behalf of the
                                         Illinois Settlement Class,

Dated:                                   By:


                                         CARL FLORIAN, individually and on behalf of the
                                         Indiana Settlement Class,

Dated:                                   By:


                                         FRANCIS LAURITZEN, individually and on behalf
                                         of the Nevada Settlement Class,

Dated:                                   By:


                                         EDELSON PC
                                         Attorneys for Plaintiffs

Dated:                                   By:


                                         BURSOR & FISHER, P.A.
                                         Attorneys for Plaintiffs

Dated:                                   By:




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         IN WITNESS WHEREOF, the Parties hereto have caused this Settlement Agreement to

be executed, by their duly authorized attorneys.

                                         KAITLIN BROOKS, individually and on behalf of the
                                         California Settlement Class,

Dated:                                   By:


                                         JOSELYN RAMOS, individually and on behalf of the
                                         Illinois Settlement Class,

Dated:                                   By:


                                         CARL FLORIAN, individually and on behalf of the
                                         Indiana Settlement Class,

Dated:                                   By:


                                         FRANCIS LAURITZEN, individually and on behalf
                                         of the Nevada Settlement Class,

Dated:                                   By:


                                         EDELSON PC
                                         Attorneys for Plaintiffs

Dated:                                   By:


                                         BURSOR & FISHER, P.A.
                                         Attorneys for Plaintiffs
                                                                    Digitally signed by Philip Fraietta
Dated: 3/25/24                           By: Philip Fraietta        Date: 2024.03.25 20:43:26 -05'00'




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                                                 ZOOMINFO TECHNOLOGIES LLC

              Dated:     By:
                                                  


                                                 Its:         



                                                 KIRKLAND & ELLIS LLP
                                                 Attorneys for Defendant

              Dated:                             By:




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                                  ZOOMINFO TECHNOLOGIES LLC

Dated:                            By:

                                  Its:


                                  KIRKLAND & ELLIS LLP
                                  Attorneys for Defendant
                                                            Digitally signed by Martin Roth
Dated:                            By: Martin Roth           Date: 2024.03.25 15:15:52 -05'00'




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                            Exhibit A
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Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 46 of 83 PageID #:1836




                            Exhibit B
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 47 of 83 PageID #:1837




           UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
IF YOU LIVE IN CALIFORNIA, ILLINOIS, INDIANA, OR NEVADA AND SOMEONE
               SEARCHED YOUR NAME ON ZOOMINFO.COM
       YOU CAN CLAIM A PAYMENT FROM A CLASS ACTION SETTLEMENT


Don’t worry, you are not being sued. This is an official court notice, not an ad for a lawyer.


      •   A Settlement has been reached in a class action lawsuit between people from
          certain U.S. States and ZoomInfo Technologies, LLC (“ZoomInfo” or
          “Defendant”). ZoomInfo operates a website, ZoomInfo.com, that provides
          directory services offering information about people. The lawsuit claims that
          ZoomInfo violated these states’ right of publicity laws when it used individuals’
          full names, business addresses, work history, job title, partial business phone
          number and work email address, and other identifying information to advertise or
          promote subscriptions to ZoomInfo’s website. ZoomInfo denies that it violated any
          law. The Court has not decided who is right or wrong.

      •   If you received a notice of the Settlement in the mail or by email, our records
          indicate that you are included in the Settlement, and you may submit a claim form
          online or by mail to receive a payment through Venmo, Zelle, or a check. Those
          included in the Settlement (i) had a California, Illinois, Indiana, or Nevada address,
          and (ii) were displayed in a preview page on ZoomInfo.com and viewed for the first
          time between certain dates.

      •   If the Court approves the Settlement, members of the Settlement Classes who
          submit approved claims will receive an equal share of a settlement fund that
          ZoomInfo will establish for each state, after all notice and administration costs,
          incentive award, and attorneys’ fees have been paid. Individual payments are
          expected to be as follows for each state: California, $$$ to $$$; Illinois, $$$ to $$$;
          Indiana, $$$ to $$$; and Nevada, $$$ to $$$. These payments could be more or less
          than these amounts depending on the number of approved claims submitted.
          ZoomInfo has also agreed to prospective relief: ZoomInfo will not use any
          Settlement Class Member’s identity to advertise any of ZoomInfo’s products or
          services.

      •   Please read this notice carefully. Your legal rights are affected whether you act or
          don’t act.


                   QUESTIONS? VISIT WWW.(TOBEDETERMINED).COM




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Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 49 of 83 PageID #:1839
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 50 of 83 PageID #:1840
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 51 of 83 PageID #:1841
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 52 of 83 PageID #:1842
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 53 of 83 PageID #:1843
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 54 of 83 PageID #:1844
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Everett McKinley Dirksen United States Courthouse, 219 South Dearborn Street, Chicago, Illinois
60604, between 8:30 a.m. and 4:30 p.m., Monday through Friday, excluding Court holidays. You
can also contact Class Counsel at (XXX) XXX-XXXX with any questions.

      PLEASE DO NOT CONTACT THE COURT, THE JUDGE, THE DEFENDANT, OR THE
  DEFENDANT’S LAWYERS WITH QUESTIONS ABOUT THE SETTLEMENT OR DISTRIBUTION OF
                            SETTLEMENT PAYMENTS




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                           Exhibit C
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 57 of 83 PageID #:1847




From: tobedetermined@domain.com
To: JohnDoeClassMember@domain.com
Re: Legal Notice of Proposed Class Action Settlement

              NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
           Ramos, et al. v. ZoomInfo Technologies, LLC, No. 21-cv-02032 (N.D. Ill.)

       OUR RECORDS INDICATE SOMEONE VIEWED YOUR NAME ON
 ZOOMINFO.COM BETWEEN JANUARY 9, 2020 AND [DATE OF EXECUTION]. IF
  YOU LIVED IN CALIFORNIA, YOU CAN CLAIM A PAYMENT FROM A CLASS
                       ACTION SETTLEMENT.

      This is an official court notice. You are not being sued. This is not an ad for a lawyer.

                            For more information, visit www.tbd.com.

This notice is to inform you that a Settlement has been reached in a class action lawsuit between
residents in California and certain other states and ZoomInfo Technologies, LLC (“Defendant” or
“ZoomInfo”). ZoomInfo operates a website, ZoomInfo.com, that provides directory services
offering information about people. The lawsuit claims that Defendant violated these states’ right
of publicity laws when it used individuals’ full names, business address, work history, job title,
and partial business phone number and work email address to advertise or promote subscriptions
to ZoomInfo’s website. The Settlement resolves claims by individuals who were searched for and
had their names displayed in preview pages on ZoomInfo.com. Defendant denies that it violated
any law. The Court has not decided who is right or wrong. Please read this notice carefully. Your
legal rights are affected whether you act or don’t act.

Who is included in the Settlement Class? Our records indicate that you may be included in the
California Settlement Class. The California Settlement Class includes all California residents
whose identity was the subject of a directory preview page published by ZoomInfo and viewed for
the first time between January 9, 2020 and the [date of execution of the settlement agreement].

What can I get out of the Settlement? If you’re eligible and the Court approves the Settlement,
you can file a claim to receive a cash payment. The payment is estimated to be approximately $$$–
$$$ but could be more or less depending on the number of Approved Claims in your state. This
amount is an equal share of a $$$ fund that Defendant agreed to create for the California Settlement
Class, after any Court-approved payment of Settlement expenses, attorneys’ fees, and any
incentive award. Separate funds were created for individuals from other states.

How do I get my payment? Just complete and verify the short and simple Claim Form online at
[Claim Form Link], or you can visit www.tbd.com and download a paper Claim Form and submit
it by mail. By submitting online, you can choose to receive your payment via Venmo, Zelle, or a
check. All Claim Forms must be submitted online or postmarked by [Claims Deadline].

What are my options? You can do nothing, comment on or object to any of the Settlement’s
terms, or exclude yourself from the Settlement. If you do nothing, you won’t get a payment, and
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 58 of 83 PageID #:1848




you won’t be able to sue ZoomInfo in a future lawsuit about the claims addressed in the Settlement.
You can also comment on or object to the Settlement if you disagree with any of its terms by
writing to the Court. If you exclude yourself, you won’t get a payment, but you’ll keep your right
to sue ZoomInfo regarding the issues the Settlement concerns. Specific instructions about how to
object or exclude yourself from the Settlement Class are available at www.[tbd.com]. All Requests
for Exclusion or Objections must be received by [Objection/Exclusion Deadline].

Do I have a lawyer? Yes. The Court appointed lawyers from the law firms Edelson PC and Bursor
& Fisher, PA as “Class Counsel.” They represent you and other California Settlement Class
Members. You can hire your own lawyer, but you’ll need to pay that lawyer’s legal fees. The Court
chose Kaitlin Brooks—a class member like you—to represent the California Settlement Class.

When will the Court approve the settlement? The Court will hold a Final Approval Hearing on
[date] at [time] before the Honorable Charles P. Kocoras in Courtroom 1801 at the Everett
McKinley Dirksen United States Courthouse, 219 South Dearborn Street, Chicago, Illinois 60604
or via remote means as instructed by the Court. During the hearing, the Court will hear objections,
determine if the Settlement is fair, and consider Class Counsel’s request for fees and expenses of
up to 35% of the California Settlement Fund and an incentive award of $750 to the Class
Representative. The request will be posted on the Settlement Website by [two weeks prior to
Objection/Exclusion Deadline].
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                           Exhibit D
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 60 of 83 PageID #:1850




From: tobedetermined@domain.com
To: JohnDoeClassMember@domain.com
Re: Legal Notice of Proposed Class Action Settlement

              NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
           Ramos, et al. v. ZoomInfo Technologies, LLC, No. 21-cv-02032 (N.D. Ill.)

       OUR RECORDS INDICATE SOMEONE VIEWED YOUR NAME ON
   ZOOMINFO.COM BETWEEN APRIL 15, 2020 AND [DATE OF EXECUTION]. IF
    YOU LIVED IN ILLINOIS, YOU CAN CLAIM A PAYMENT FROM A CLASS
                         ACTION SETTLEMENT.

      This is an official court notice. You are not being sued. This is not an ad for a lawyer.

                             For more information, visit www.tbd.com.

This notice is to inform you that a Settlement has been reached in a class action lawsuit between
residents in Illinois and certain other states and ZoomInfo Technologies, LLC (“Defendant” or
“ZoomInfo”). ZoomInfo operates a website, ZoomInfo.com, that provides directory services
offering information about people. The lawsuit claims that Defendant violated these states’ right
of publicity laws when it used individuals’ full names, business address, work history, job title,
and partial business phone number and work email address to advertise or promote subscriptions
to ZoomInfo’s website. The Settlement resolves claims by individuals who were searched for and
had their names displayed in preview pages on ZoomInfo.com. Defendant denies that it violated
any law. The Court has not decided who is right or wrong. Please read this notice carefully. Your
legal rights are affected whether you act or don’t act.

Who is included in the Settlement Class? Our records indicate that you may be included in the
Illinois Settlement Class. The Illinois Settlement Class includes all Illinois residents whose identity
was the subject of a directory preview page published by ZoomInfo and viewed for the first time
between April 15, 2020 and the [date of execution of the settlement agreement].

What can I get out of the Settlement? If you’re eligible and the Court approves the Settlement,
you can file a claim to receive a cash payment. The payment is estimated to be approximately $$$–
$$$ but could be more or less depending on the number of Approved Claims in your state. This
amount is an equal share of a $$$ fund that Defendant agreed to create for the Illinois Settlement
Class, after any Court-approved payment of Settlement expenses, attorneys’ fees, and any
incentive award. Separate funds were created for individuals from other states.

How do I get my payment? Just complete and verify the short and simple Claim Form online at
[Claim Form Link], or you can visit www.tbd.com and download a paper Claim Form and submit
it by mail. By submitting online, you can choose to receive your payment via Venmo, Zelle, or a
check. All Claim Forms must be submitted online or postmarked by [Claims Deadline].

What are my options? You can do nothing, comment on or object to any of the Settlement’s
terms, or exclude yourself from the Settlement. If you do nothing, you won’t get a payment, and
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you won’t be able to sue ZoomInfo in a future lawsuit about the claims addressed in the Settlement.
You can also comment on or object to the Settlement if you disagree with any of its terms by
writing to the Court. If you exclude yourself, you won’t get a payment, but you’ll keep your right
to sue ZoomInfo regarding the issues the Settlement concerns. Specific instructions about how to
object or exclude yourself from the Settlement Class are available at www.[tbd.com]. All Requests
for Exclusion or Objections must be received by [Objection/Exclusion Deadline].

Do I have a lawyer? Yes. The Court appointed lawyers from the law firms Edelson PC and Bursor
& Fisher, PA as “Class Counsel.” They represent you and other Illinois Settlement Class Members.
You can hire your own lawyer, but you’ll need to pay that lawyer’s legal fees. The Court chose
Joselyn Ramos—a class member like you—to represent the Illinois Settlement Class.

When will the Court approve the settlement? The Court will hold a Final Approval Hearing on
[date] at [time] before the Honorable Charles P. Kocoras in Courtroom 1801 at the Everett
McKinley Dirksen United States Courthouse, 219 South Dearborn Street, Chicago, Illinois 60604
or via remote means as instructed by the Court. During the hearing, the Court will hear objections,
determine if the Settlement is fair, and consider Class Counsel’s request for fees and expenses of
up to 35% of the Illinois Settlement Fund and an incentive award of $1,000 to the Class
Representative. The request will be posted on the Settlement Website by [two weeks prior to
Objection/Exclusion Deadline].
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                            Exhibit E
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 63 of 83 PageID #:1853




From: tobedetermined@domain.com
To: JohnDoeClassMember@domain.com
Re: Legal Notice of Proposed Class Action Settlement

              NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
           Ramos, et al. v. ZoomInfo Technologies, LLC, No. 21-cv-02032 (N.D. Ill.)

      OUR RECORDS INDICATE SOMEONE VIEWED YOUR NAME ON
 ZOOMINFO.COM BETWEEN [TWO YEARS PRIOR TO EXECUTION DATE] AND
   [DATE OF EXECUTION]. IF YOU LIVED IN INDIANA, YOU CAN CLAIM A
            PAYMENT FROM A CLASS ACTION SETTLEMENT.

     This is an official court notice. You are not being sued. This is not an ad for a lawyer.

                            For more information, visit www.tbd.com.

This notice is to inform you that a Settlement has been reached in a class action lawsuit between
residents in Indiana and certain other states and ZoomInfo Technologies, LLC (“Defendant” or
“ZoomInfo”). ZoomInfo operates a website, ZoomInfo.com, that provides directory services
offering information about people. The lawsuit claims that Defendant violated these states’ right
of publicity laws when it used individuals’ full names, business address, work history, job title,
and partial business phone number and work email address to advertise or promote subscriptions
to ZoomInfo’s website. The Settlement resolves claims by individuals who were searched for and
had their names displayed in preview pages on ZoomInfo.com. Defendant denies that it violated
any law. The Court has not decided who is right or wrong. Please read this notice carefully. Your
legal rights are affected whether you act or don’t act.

Who is included in the Settlement Class? Our records indicate that you may be included in the
Indiana Settlement Class. The Indiana Settlement Class includes all Indiana residents whose
identity was the subject of a directory preview page published by ZoomInfo and viewed for the
first time between [two years prior to execution date] and the [date of execution of the settlement
agreement].

What can I get out of the Settlement? If you’re eligible and the Court approves the Settlement,
you can file a claim to receive a cash payment. The payment is estimated to be approximately $$$–
$$$ but could be more or less depending on the number of Approved Claims in your state. This
amount is an equal share of a $$$ fund that Defendant agreed to create for the Indiana Settlement
Class, after any Court-approved payment of Settlement expenses, attorneys’ fees, and any
incentive award. Separate funds were created for individuals from other states.

How do I get my payment? Just complete and verify the short and simple Claim Form online at
[Claim Form Link], or you can visit www.tbd.com and download a paper Claim Form and submit
it by mail. By submitting online, you can choose to receive your payment via Venmo, Zelle, or a
check. All Claim Forms must be submitted online or postmarked by [Claims Deadline].
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 64 of 83 PageID #:1854




What are my options? You can do nothing, comment on or object to any of the Settlement’s
terms, or exclude yourself from the Settlement. If you do nothing, you won’t get a payment, and
you won’t be able to sue ZoomInfo in a future lawsuit about the claims addressed in the Settlement.
You can also comment on or object to the Settlement if you disagree with any of its terms by
writing to the Court. If you exclude yourself, you won’t get a payment, but you’ll keep your right
to sue ZoomInfo regarding the issues the Settlement concerns. Specific instructions about how to
object or exclude yourself from the Settlement Class are available at www.[tbd.com]. All Requests
for Exclusion or Objections must be received by [Objection/Exclusion Deadline].

Do I have a lawyer? Yes. The Court appointed lawyers from the law firms Edelson PC and Bursor
& Fisher, PA as “Class Counsel.” They represent you and other Indiana Settlement Class
Members. You can hire your own lawyer, but you’ll need to pay that lawyer’s legal fees. The Court
chose Carl Florian—a class member like you—to represent the Indiana Settlement Class.

When will the Court approve the settlement? The Court will hold a Final Approval Hearing on
[date] at [time] before the Honorable Charles P. Kocoras in Courtroom 1801 at the Everett
McKinley Dirksen United States Courthouse, 219 South Dearborn Street, Chicago, Illinois 60604
or via remote means as instructed by the Court. During the hearing, the Court will hear objections,
determine if the Settlement is fair, and consider Class Counsel’s request for fees and expenses of
up to 35% of the Indiana Settlement Fund and an incentive award of $1,000 to the Class
Representative. The request will be posted on the Settlement Website by [two weeks prior to
Objection/Exclusion Deadline].
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                            Exhibit F
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 66 of 83 PageID #:1856




From: tobedetermined@domain.com
To: JohnDoeClassMember@domain.com
Re: Legal Notice of Proposed Class Action Settlement

              NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
           Ramos, et al. v. ZoomInfo Technologies, LLC, No. 21-cv-02032 (N.D. Ill.)

      OUR RECORDS INDICATE SOMEONE VIEWED YOUR NAME ON
 ZOOMINFO.COM BETWEEN [TWO YEARS PRIOR TO EXECUTION DATE] AND
   [DATE OF EXECUTION]. IF YOU LIVED IN NEVADA, YOU CAN CLAIM A
            PAYMENT FROM A CLASS ACTION SETTLEMENT.

     This is an official court notice. You are not being sued. This is not an ad for a lawyer.

                            For more information, visit www.tbd.com.

This notice is to inform you that a Settlement has been reached in a class action lawsuit between
residents in Nevada and certain other states and ZoomInfo Technologies, LLC (“Defendant” or
“ZoomInfo”). ZoomInfo operates a website, ZoomInfo.com, that provides directory services
offering information about people. The lawsuit claims that Defendant violated these states’ right
of publicity laws when it used individuals’ full names, business address, work history, job title,
and partial business phone number and work email address to advertise or promote subscriptions
to ZoomInfo’s website. The Settlement resolves claims by individuals who were searched for and
had their names displayed in preview pages on ZoomInfo.com. Defendant denies that it violated
any law. The Court has not decided who is right or wrong. Please read this notice carefully. Your
legal rights are affected whether you act or don’t act.

Who is included in the Settlement Class? Our records indicate that you may be included in the
Nevada Settlement Class. The Nevada Settlement Class includes all Nevada residents whose
identity was the subject of a directory preview page published by ZoomInfo and viewed for the
first time between [two years prior to execution date] and the [date of execution of the settlement
agreement].

What can I get out of the Settlement? If you’re eligible and the Court approves the Settlement,
you can file a claim to receive a cash payment. The payment is estimated to be approximately $$$–
$$$ but could be more or less depending on the number of Approved Claims in your state. This
amount is an equal share of a $$$ fund that Defendant agreed to create for the Nevada Settlement
Class, after any Court-approved payment of Settlement expenses, attorneys’ fees, and any
incentive award. Separate funds were created for individuals from other states.

How do I get my payment? Just complete and verify the short and simple Claim Form online at
[Claim Form Link], or you can visit www.tbd.com and download a paper Claim Form and submit
it by mail. By submitting online, you can choose to receive your payment via Venmo, Zelle, or a
check. All Claim Forms must be submitted online or postmarked by [Claims Deadline].

What are my options? You can do nothing, comment on or object to any of the Settlement’s
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terms, or exclude yourself from the Settlement. If you do nothing, you won’t get a payment, and
you won’t be able to sue ZoomInfo in a future lawsuit about the claims addressed in the Settlement.
You can also comment on or object to the Settlement if you disagree with any of its terms by
writing to the Court. If you exclude yourself, you won’t get a payment, but you’ll keep your right
to sue ZoomInfo regarding the issues the Settlement concerns. Specific instructions about how to
object or exclude yourself from the Settlement Class are available at www.[tbd.com]. All Requests
for Exclusion or Objections must be received by [Objection/Exclusion Deadline].

Do I have a lawyer? Yes. The Court appointed lawyers from the law firms Edelson PC and Bursor
& Fisher, PA as “Class Counsel.” They represent you and other Nevada Settlement Class
Members. You can hire your own lawyer, but you’ll need to pay that lawyer’s legal fees. The Court
chose Francis Lauritzen—a class member like you—to represent the Nevada Settlement Class.

When will the Court approve the settlement? The Court will hold a Final Approval Hearing
on [date] at [time] before the Honorable Charles P. Kocoras in Courtroom 1801 at the Everett
McKinley Dirksen United States Courthouse, 219 South Dearborn Street, Chicago, Illinois
60604 or via remote means as instructed by the Court. During the hearing, the Court will hear
objections, determine if the Settlement is fair, and consider Class Counsel’s request for fees and
expenses of up to 35% of the Nevada Settlement Fund and an incentive award of $750 to the
Class Representative. The request will be posted on the Settlement Website by [two weeks prior
to Objection/Exclusion Deadline].
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                           Exhibit G
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      COURT AUTHORIZED NOTICE OF CLASS                        Ramos, et al. v. ZoomInfo Technologies, LLC
      ACTION AND PROPOSED SETTLEMENT                          c/o Settlement Administrator                     First-Class
                                                              P.O. Box 0000                                       Mail
                                                              City, ST 00000-0000                              US Postage
      OUR RECORDS INDICATE                                                                                        Paid
       SOMEONE SEARCHED                                       |||||||||||||||||||||||                          Permit #__
          YOUR NAME ON                                        Postal Service: Please do not mark barcode
          ZOOMINFO.COM
       BETWEEN JANUARY 9,                                     XXX—«ClaimID»             «MailRec»
         2020 AND [DATE OF                                    «First1» «Last1»
        EXECUTION]. IF YOU                                    «C/O»
       LIVED IN CALIFORNIA,                                   «Addr1» «Addr2»
         YOU CAN CLAIM A                                      «City», «St» «Zip» «Country»
      PAYMENT FROM A CLASS
                                                                                      By Order of the Court Dated: [date]
       ACTION SETTLEMENT.




      XXX


                                                         CLAIM FORM
     THIS CLAIM FORM MUST BE SUBMITTED ONLINE OR POSTMARKED BY [CLAIMS DEADLINE] AND MUST
     BE FULLY COMPLETED, BE SIGNED, AND MEET ALL CONDITIONS OF THE SETTLEMENT AGREEMENT.
     Instructions: Fill out each section of this form and sign where indicated. If you prefer to receive payment via Venmo or
     Zelle, you must submit a Claim Form online on the Settlement Website at www.tbd.com. If you submit this paper Claim
     Form by mail and it is approved, you will receive a check in the mail at the address you provide below.
     Name (First, M.I., Last): _______________________________        ________     __________________________________
     Street Address: ________________________________________________________________________
     City: _______________________________________ State: ____ ____              Zip Code: ____ ____ ____ ____ ____
     Email Address (optional): _________________________________________________________________
     Contact Phone #: ( ___ ___ ___) ___ ___ ___ – ___ ___ ___ ___ (You may be contacted if further information is required.)
     [ ] By checking this box I affirm that I was a resident of California between January 9, 2020 and [date of execution] and
     submit this claim form as a member of the California Settlement Class.
     Signature: _____________________________________________             Date: ___ ___/ ___ ___/ ___ ___

     Print Name: ____________________________________________
     The Settlement Administrator will review your Claim Form. If accepted, you will be mailed a check payment for an equal
     share of your state’s State-Specific Settlement Fund based on the number of valid Claim Forms received and after first
     deducting Settlement Administration Expenses, any Fee Award, and any incentive award to the California Settlement Class
     Representative, as approved by the Court. This process takes time; please be patient.
                                    Questions, visit www.tbd.com or call [toll free number]
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 70 of 83 PageID #:1860




     This notice is to inform you that a Settlement has been reached in a class action lawsuit between residents in California and
     certain other states and ZoomInfo Technologies, LLC (“Defendant” or “ZoomInfo”) ZoomInfo operates a website,
     ZoomInfo.com, that provides directory services offering information about people. The lawsuit claims that Defendant violated
     these states’ right of publicity laws when it used individuals’ full names, business addresses, work history, job title, and partial
     business phone number and work email address to advertise or promote subscriptions to ZoomInfo’s website. The Settlement
     resolves claims by individuals who were searched for and had their names displayed in preview pages on ZoomInfo.com.
     Defendant denies that it violated any law. The Court has not decided who is right or wrong. Please read this notice carefully.
     Your legal rights are affected whether you act or don’t act.
     Who is included in the Settlement Class? Our records indicate that you may be included in the California Settlement Class.
     The California Settlement Class includes all California residents whose identity was the subject of a directory preview page
     published by ZoomInfo and viewed for the first time between January 9, 2020 and the [date of execution of the settlement
     agreement].
     What can I get out of the Settlement? If you’re eligible and the Court approves the Settlement, you can file a claim to receive
     a cash payment. The payment is estimated to be approximately $$$–$$$ but could be more or less depending on the number of
     Approved Claims in your state. This amount is an equal share of a $$$ fund that Defendant agreed to create for the California
     Settlement Class, after any Court-approved payment of Settlement expenses, attorneys’ fees, and any incentive award. Separate
     funds were created for individuals from other states.
     How do I get my payment? Just complete and return the attached Claim Form by mail, or you can visit the Settlement Website,
     www.tbd.com, and submit a Claim Form online. By submitting online, you can choose to receive your payment via Venmo,
     Zelle, or a check. All Claim Forms must be postmarked or submitted online by [Claims Deadline].
     What are my options? You can do nothing, comment on or object to any of the Settlement’s terms, or exclude yourself from
     the Settlement. If you do nothing, you won’t get a payment, and you won’t be able to sue ZoomInfo in a future lawsuit about the
     claims addressed in the Settlement. You can also comment on or object to the Settlement if you disagree with any of its terms by
     writing to the Court. If you exclude yourself, you won’t get a payment, but you’ll keep your right to sue ZoomInfo regarding the
     issues the Settlement concerns. Specific instructions about how to object or exclude yourself from the Settlement Class are
     available at www.[tbd.com]. All Requests for Exclusion or Objections must be received by [Objection/Exclusion Deadline].
     Do I have a lawyer? Yes. The Court appointed lawyers from Edelson PC and Bursor & Fisher, PA as “Class Counsel.” They
     represent you and other California Settlement Class Members. You can hire your own lawyer, but you’ll need to pay that lawyer’s
     legal fees. The Court chose Kaitlin Brooks—a class member like you—to represent the California Settlement Class.
     When will the Court approve the Settlement? The Court will hold a Final Approval Hearing on [date] at [time] before the
     Honorable Charles P. Kocoras in Courtroom 1801 at the Everett McKinley Dirksen United States Courthouse, 219 South
     Dearborn Street, Chicago, Illinois 60604 or via remote means as instructed by the Court. During the hearing, the Court will
     hear objections, determine if the Settlement is fair, and consider Class Counsel’s request for fees and expenses of up to 35% of
     the California Settlement Fund and an incentive award of $750 to the Class Representative. The request will be posted on the
     Settlement Website by [two weeks prior to Objection/Exclusion Deadline].



                                                                                                                  NO POSTAGE
                                                                                                                  NECESSARY
                                                                                                                  IF MAILED IN
                                                                                                                  THE UNITED
                                                                                                                     STATES




                                                 Ramos, et al. v. ZoomInfo Technologies, LLC
                                                 c/o Settlement Administrator
                                                 PO Box 0000
                                                 City, ST 00000-0000



     XXX
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                           Exhibit H
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      COURT AUTHORIZED NOTICE OF CLASS                         Ramos, et al. v. ZoomInfo Technologies, LLC
      ACTION AND PROPOSED SETTLEMENT                           c/o Settlement Administrator                      First-Class
                                                               P.O. Box 0000                                        Mail
                                                               City, ST 00000-0000                               US Postage
      OUR RECORDS INDICATE                                                                                          Paid
        SOMEONE SEARCHED                                       |||||||||||||||||||||||                           Permit #__
          YOUR NAME ON                                         Postal Service: Please do not mark barcode
          ZOOMINFO.COM
      BETWEEN APRIL 15, 2020                                   XXX—«ClaimID»              «MailRec»
           AND [DATE OF                                        «First1» «Last1»
        EXECUTION]. IF YOU                                     «C/O»
      LIVED IN ILLINOIS, YOU                                   «Addr1» «Addr2»
      CAN CLAIM A PAYMENT                                      «City», «St» «Zip» «Country»
       FROM A CLASS ACTION
                                                                                        By Order of the Court Dated: [date]
           SETTLEMENT.




      XXX


                                                          CLAIM FORM
     THIS CLAIM FORM MUST BE SUBMITTED ONLINE OR POSTMARKED BY [CLAIMS DEADLINE] AND MUST
     BE FULLY COMPLETED, BE SIGNED, AND MEET ALL CONDITIONS OF THE SETTLEMENT AGREEMENT.
     Instructions: Fill out each section of this form and sign where indicated. If you prefer to receive payment via Venmo or
     Zelle, you must submit a Claim Form online on the Settlement Website at www.tbd.com. If you submit this paper Claim
     Form by mail and it is approved, you will receive a check in the mail at the address you provide below.
     Name (First, M.I., Last): _______________________________          ________     __________________________________
     Street Address: ________________________________________________________________________
     City: _______________________________________ State: ____ ____                Zip Code: ____ ____ ____ ____ ____
     Email Address (optional): _________________________________________________________________
     Contact Phone #: ( ___ ___ ___) ___ ___ ___ – ___ ___ ___ ___ (You may be contacted if further information is required.)
     [ ] By checking this box I affirm that I was a resident of Illinoi between April 15, 2020 and [date of execution] and submit
     this claim form as a member of the Illinois Settlement Class.
     Signature: _____________________________________________               Date: ___ ___/ ___ ___/ ___ ___

     Print Name: ____________________________________________
     The Settlement Administrator will review your Claim Form. If accepted, you will be mailed a check payment for an equal
     share of your state’s State-Specific Settlement Fund based on the number of valid Claim Forms received and after first
     deducting Settlement Administration Expenses, any Fee Award, and any incentive award to the Illinois Settlement Class
     Representative, as approved by the Court. This process takes time; please be patient.
                                     Questions, visit www.tbd.com or call [toll free number]
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 73 of 83 PageID #:1863




     This notice is to inform you that a Settlement has been reached in a class action lawsuit between residents in Illinois and certain
     other states and ZoomInfo Technologies, LLC (“Defendant” or “ZoomInfo”) ZoomInfo operates a website, ZoomInfo.com,
     that provides directory services offering information about people. The lawsuit claims that Defendant violated these states’
     right of publicity laws when it used individuals’ full names, business addresses, work history, job title, and partial business
     phone number and work email address to advertise or promote subscriptions to ZoomInfo’s website. The Settlement resolves
     claims by individuals who were searched for and had their names displayed in preview pages on ZoomInfo.com. Defendant
     denies that it violated any law. The Court has not decided who is right or wrong. Please read this notice carefully. Your legal
     rights are affected whether you act or don’t act.
     Who is included in the Settlement Class? Our records indicate that you may be included in the Illinois Settlement Class. The
     Illinois Settlement Class includes all Illinois residents whose identity was the subject of a directory preview page published by
     ZoomInfo and viewed for the first time between April 15, 2020 and the [date of execution of the settlement agreement].
     What can I get out of the Settlement? If you’re eligible and the Court approves the Settlement, you can file a claim to receive
     a cash payment. The payment is estimated to be approximately $$$–$$$ but could be more or less depending on the number of
     Approved Claims in your state. This amount is an equal share of a $$$ fund that Defendant agreed to create for the Illinois
     Settlement Class, after any Court-approved payment of Settlement expenses, attorneys’ fees, and any incentive award. Separate
     funds were created for individuals from other states.
     How do I get my payment? Just complete and return the attached Claim Form by mail, or you can visit the Settlement Website,
     www.tbd.com, and submit a Claim Form online. By submitting online, you can choose to receive your payment via Venmo,
     Zelle, or a check. All Claim Forms must be postmarked or submitted online by [Claims Deadline].
     What are my options? You can do nothing, comment on or object to any of the Settlement’s terms, or exclude yourself from
     the Settlement. If you do nothing, you won’t get a payment, and you won’t be able to sue ZoomInfo in a future lawsuit about the
     claims addressed in the Settlement. You can also comment on or object to the Settlement if you disagree with any of its terms by
     writing to the Court. If you exclude yourself, you won’t get a payment, but you’ll keep your right to sue ZoomInfo regarding the
     issues the Settlement concerns. Specific instructions about how to object or exclude yourself from the Settlement Class are
     available at www.[tbd.com]. All Requests for Exclusion or Objections must be received by [Objection/Exclusion Deadline].
     Do I have a lawyer? Yes. The Court appointed lawyers from Edelson PC and Bursor & Fisher, PA as “Class Counsel.” They
     represent you and other Illinois Settlement Class Members. You can hire your own lawyer, but you’ll need to pay that lawyer’s
     legal fees. The Court chose Joselyn Ramos—a class member like you—to represent the Illinois Settlement Class.
     When will the Court approve the Settlement? The Court will hold a Final Approval Hearing on [date] at [time] before the
     Honorable Charles P. Kocoras in Courtroom 1801 at the Everett McKinley Dirksen United States Courthouse, 219 South
     Dearborn Street, Chicago, Illinois 60604 or via remote means as instructed by the Court. During the hearing, the Court will
     hear objections, determine if the Settlement is fair, and consider Class Counsel’s request for fees and expenses of up to 35% of
     the Illinois Settlement Fund and an incentive award of $1,000 to the Class Representative. The request will be posted on the
     Settlement Website by [two weeks prior to Objection/Exclusion Deadline].




                                                                                                                 NO POSTAGE
                                                                                                                 NECESSARY
                                                                                                                 IF MAILED IN
                                                                                                                 THE UNITED
                                                                                                                    STATES




                                                 Ramos, et al. v. ZoomInfo Technologies, LLC
                                                 c/o Settlement Administrator
                                                 PO Box 0000
                                                 City, ST 00000-0000



     XXX
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                            Exhibit I
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      COURT AUTHORIZED NOTICE OF CLASS                         Ramos, et al. v. ZoomInfo Technologies, LLC
      ACTION AND PROPOSED SETTLEMENT                           c/o Settlement Administrator                      First-Class
                                                               P.O. Box 0000                                        Mail
                                                               City, ST 00000-0000                               US Postage
     OUR RECORDS INDICATE                                                                                           Paid
       SOMEONE SEARCHED                                        |||||||||||||||||||||||                           Permit #__
         YOUR NAME ON                                          Postal Service: Please do not mark barcode
         ZOOMINFO.COM
      BETWEEN [TWO YEARS                                       XXX—«ClaimID»              «MailRec»
     BEFORE EXECUTION] AND                                     «First1» «Last1»
     [DATE OF EXECUTION]. IF                                   «C/O»
      YOU LIVED IN INDIANA,                                    «Addr1» «Addr2»
        YOU CAN CLAIM A                                        «City», «St» «Zip» «Country»
     PAYMENT FROM A CLASS
                                                                                        By Order of the Court Dated: [date]
       ACTION SETTLEMENT.




      XXX


                                                          CLAIM FORM
     THIS CLAIM FORM MUST BE SUBMITTED ONLINE OR POSTMARKED BY [CLAIMS DEADLINE] AND MUST
     BE FULLY COMPLETED, BE SIGNED, AND MEET ALL CONDITIONS OF THE SETTLEMENT AGREEMENT.
     Instructions: Fill out each section of this form and sign where indicated. If you prefer to receive payment via Venmo or
     Zelle, you must submit a Claim Form online on the Settlement Website at www.tbd.com. If you submit this paper Claim
     Form by mail and it is approved, you will receive a check in the mail at the address you provide below.
     Name (First, M.I., Last): _______________________________          ________     __________________________________
     Street Address: ________________________________________________________________________
     City: _______________________________________ State: ____ ____                Zip Code: ____ ____ ____ ____ ____
     Email Address (optional): _________________________________________________________________
     Contact Phone #: ( ___ ___ ___) ___ ___ ___ – ___ ___ ___ ___ (You may be contacted if further information is required.)
     [ ] By checking this box I affirm that I was a resident of Indiana between [two years before date of execution] and [date of
     execution] and submit this claim form as a member of the Indiana Settlement Class.
     Signature: _____________________________________________               Date: ___ ___/ ___ ___/ ___ ___

     Print Name: ____________________________________________
     The Settlement Administrator will review your Claim Form. If accepted, you will be mailed a check payment for an equal
     share of your state’s State-Specific Settlement Fund based on the number of valid Claim Forms received and after first
     deducting Settlement Administration Expenses, any Fee Award, and any incentive award to the Indiana Settlement Class
     Representative, as approved by the Court. This process takes time; please be patient.
                                     Questions, visit www.tbd.com or call [toll free number]
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 76 of 83 PageID #:1866




     This notice is to inform you that a Settlement has been reached in a class action lawsuit between residents in Indiana and
     certain other states and ZoomInfo Technologies, LLC (“Defendant” or “ZoomInfo”) ZoomInfo operates a website,
     ZoomInfo.com, that provides directory services offering information about people. The lawsuit claims that Defendant violated
     these states’ right of publicity laws when it used individuals’ full names, business addresses, work history, job title, and partial
     business phone number and work email address to advertise or promote subscriptions to ZoomInfo’s website. The Settlement
     resolves claims by individuals who were searched for and had their names displayed in preview pages on ZoomInfo.com.
     Defendant denies that it violated any law. The Court has not decided who is right or wrong. Please read this notice carefully.
     Your legal rights are affected whether you act or don’t act.
     Who is included in the Settlement Class? Our records indicate that you may be included in the Indiana Settlement Class. The
     Indiana Settlement Class includes all Indiana residents whose identity was the subject of a directory preview page published by
     ZoomInfo and viewed for the first time between [two years before date of execution] and the [date of execution of the settlement
     agreement].
     What can I get out of the Settlement? If you’re eligible and the Court approves the Settlement, you can file a claim to receive
     a cash payment. The payment is estimated to be approximately $$$–$$$ but could be more or less depending on the number of
     Approved Claims in your state. This amount is an equal share of a $$$ fund that Defendant agreed to create for the Indiana
     Settlement Class, after any Court-approved payment of Settlement expenses, attorneys’ fees, and any incentive award. Separate
     funds were created for individuals from other states.
     How do I get my payment? Just complete and return the attached Claim Form by mail, or you can visit the Settlement Website,
     www.tbd.com, and submit a Claim Form online. By submitting online, you can choose to receive your payment via Venmo,
     Zelle, or a check. All Claim Forms must be postmarked or submitted online by [Claims Deadline].
     What are my options? You can do nothing, comment on or object to any of the Settlement’s terms, or exclude yourself from
     the Settlement. If you do nothing, you won’t get a payment, and you won’t be able to sue ZoomInfo in a future lawsuit about the
     claims addressed in the Settlement. You can also comment on or object to the Settlement if you disagree with any of its terms by
     writing to the Court. If you exclude yourself, you won’t get a payment, but you’ll keep your right to sue ZoomInfo regarding the
     issues the Settlement concerns. Specific instructions about how to object or exclude yourself from the Settlement Class are
     available at www.[tbd.com]. All Requests for Exclusion or Objections must be received by [Objection/Exclusion Deadline].
     Do I have a lawyer? Yes. The Court appointed lawyers from Edelson PC and Bursor & Fisher, PA as “Class Counsel.” They
     represent you and other Indiana Settlement Class Members. You can hire your own lawyer, but you’ll need to pay that lawyer’s
     legal fees. The Court chose Carl Florian—a class member like you—to represent the Indiana Settlement Class.
     When will the Court approve the Settlement? The Court will hold a Final Approval Hearing on [date] at [time] before the
     Honorable Charles P. Kocoras in Courtroom 1801 at the Everett McKinley Dirksen United States Courthouse, 219 South
     Dearborn Street, Chicago, Illinois 60604 or via remote means as instructed by the Court. During the hearing, the Court will
     hear objections, determine if the Settlement is fair, and consider Class Counsel’s request for fees and expenses of up to 35% of
     the Indiana Settlement Fund and an incentive award of $1,000 to the Class Representative. The request will be posted on the
     Settlement Website by [two weeks prior to Objection/Exclusion Deadline].



                                                                                                                  NO POSTAGE
                                                                                                                  NECESSARY
                                                                                                                  IF MAILED IN
                                                                                                                  THE UNITED
                                                                                                                     STATES




                                                 Ramos, et al. v. ZoomInfo Technologies, LLC
                                                 c/o Settlement Administrator
                                                 PO Box 0000
                                                 City, ST 00000-0000



     XXX
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                            Exhibit J
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 78 of 83 PageID #:1868




      COURT AUTHORIZED NOTICE OF CLASS                         Ramos, et al. v. ZoomInfo Technologies, LLC
      ACTION AND PROPOSED SETTLEMENT                           c/o Settlement Administrator                     First-Class
                                                               P.O. Box 0000                                       Mail
                                                               City, ST 00000-0000                              US Postage
     OUR RECORDS INDICATE                                                                                          Paid
       SOMEONE SEARCHED                                        |||||||||||||||||||||||                          Permit #__
         YOUR NAME ON                                          Postal Service: Please do not mark barcode
         ZOOMINFO.COM
      BETWEEN [TWO YEARS                                       XXX—«ClaimID»              «MailRec»
     BEFORE EXECUTION] AND                                     «First1» «Last1»
     [DATE OF EXECUTION]. IF                                   «C/O»
      YOU LIVED IN NEVADA,                                     «Addr1» «Addr2»
        YOU CAN CLAIM A                                        «City», «St» «Zip» «Country»
     PAYMENT FROM A CLASS
                                                                                       By Order of the Court Dated: [date]
       ACTION SETTLEMENT.




      XXX


                                                          CLAIM FORM
     THIS CLAIM FORM MUST BE SUBMITTED ONLINE OR POSTMARKED BY [CLAIMS DEADLINE] AND MUST
     BE FULLY COMPLETED, BE SIGNED, AND MEET ALL CONDITIONS OF THE SETTLEMENT AGREEMENT.
     Instructions: Fill out each section of this form and sign where indicated. If you prefer to receive payment via Venmo or
     Zelle, you must submit a Claim Form online on the Settlement Website at www.tbd.com. If you submit this paper Claim
     Form by mail and it is approved, you will receive a check in the mail at the address you provide below.
     Name (First, M.I., Last): _______________________________         ________     __________________________________
     Street Address: ________________________________________________________________________
     City: _______________________________________ State: ____ ____                Zip Code: ____ ____ ____ ____ ____
     Email Address (optional): _________________________________________________________________
     Contact Phone #: ( ___ ___ ___) ___ ___ ___ – ___ ___ ___ ___ (You may be contacted if further information is required.)
     [ ] By checking this box I affirm that I was a resident of Nevada between [two years before date of execution] and [date of
     execution] and submit this claim form as a member of the Nevada Settlement Class.
     Signature: _____________________________________________               Date: ___ ___/ ___ ___/ ___ ___

     Print Name: ____________________________________________
     The Settlement Administrator will review your Claim Form. If accepted, you will be mailed a check payment for an equal
     share of your state’s State-Specific Settlement Fund based on the number of valid Claim Forms received and after first
     deducting Settlement Administration Expenses, any Fee Award, and any incentive award to the Nevada Settlement Class
     Representative, as approved by the Court. This process takes time; please be patient.
                                     Questions, visit www.tbd.com or call [toll free number]
Case: 1:21-cv-02032 Document #: 122-1 Filed: 10/04/24 Page 79 of 83 PageID #:1869




     This notice is to inform you that a Settlement has been reached in a class action lawsuit between residents in Nevada and
     certain other states and ZoomInfo Technologies, LLC (“Defendant” or “ZoomInfo”) ZoomInfo operates a website,
     ZoomInfo.com, that provides directory services offering information about people. The lawsuit claims that Defendant violated
     these states’ right of publicity laws when it used individuals’ full names, business addresses, work history, job title, and partial
     business phone number and work email address to advertise or promote subscriptions to ZoomInfo’s website. The Settlement
     resolves claims by individuals who were searched for and had their names displayed in preview pages on ZoomInfo.com.
     Defendant denies that it violated any law. The Court has not decided who is right or wrong. Please read this notice carefully.
     Your legal rights are affected whether you act or don’t act.
     Who is included in the Settlement Class? Our records indicate that you may be included in the Nevada Settlement Class. The
     Nevada Settlement Class includes all Nevada residents whose identity was the subject of a directory preview page published by
     ZoomInfo and viewed for the first time between [two years before date of execution] and the [date of execution of the settlement
     agreement].
     What can I get out of the Settlement? If you’re eligible and the Court approves the Settlement, you can file a claim to receive
     a cash payment. The payment is estimated to be approximately $$$–$$$ but could be more or less depending on the number of
     Approved Claims in your state. This amount is an equal share of a $$$ fund that Defendant agreed to create for the Nevada
     Settlement Class, after any Court-approved payment of Settlement expenses, attorneys’ fees, and any incentive award. Separate
     funds were created for individuals from other states.
     How do I get my payment? Just complete and return the attached Claim Form by mail, or you can visit the Settlement Website,
     www.tbd.com, and submit a Claim Form online. By submitting online, you can choose to receive your payment via Venmo,
     Zelle, or a check. All Claim Forms must be postmarked or submitted online by [Claims Deadline].
     What are my options? You can do nothing, comment on or object to any of the Settlement’s terms, or exclude yourself from
     the Settlement. If you do nothing, you won’t get a payment, and you won’t be able to sue ZoomInfo in a future lawsuit about the
     claims addressed in the Settlement. You can also comment on or object to the Settlement if you disagree with any of its terms by
     writing to the Court. If you exclude yourself, you won’t get a payment, but you’ll keep your right to sue ZoomInfo regarding the
     issues the Settlement concerns. Specific instructions about how to object or exclude yourself from the Settlement Class are
     available at www.[tbd.com]. All Requests for Exclusion or Objections must be received by [Objection/Exclusion Deadline].
     Do I have a lawyer? Yes. The Court appointed lawyers from Edelson PC and Bursor & Fisher, PA as “Class Counsel.” They
     represent you and other Nevada Settlement Class Members. You can hire your own lawyer, but you’ll need to pay that lawyer’s
     legal fees. The Court chose Francis Lauritzen—a class member like you—to represent the Nevada Settlement Class.
     When will the Court approve the Settlement? The Court will hold a Final Approval Hearing on [date] at [time] before the
     Honorable Charles P. Kocoras in Courtroom 1801 at the Everett McKinley Dirksen United States Courthouse, 219 South
     Dearborn Street, Chicago, Illinois 60604 or via remote means as instructed by the Court. During the hearing, the Court will
     hear objections, determine if the Settlement is fair, and consider Class Counsel’s request for fees and expenses of up to 35% of
     the Nevada Settlement Fund and an incentive award of $750 to the Class Representative. The request will be posted on the
     Settlement Website by [two weeks prior to Objection/Exclusion Deadline].



                                                                                                                  NO POSTAGE
                                                                                                                  NECESSARY
                                                                                                                  IF MAILED IN
                                                                                                                  THE UNITED
                                                                                                                     STATES




                                                 Ramos, et al. v. ZoomInfo Technologies, LLC
                                                 c/o Settlement Administrator
                                                 PO Box 0000
                                                 City, ST 00000-0000



     XXX
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                           Exhibit K
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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

  JOSELYN RAMOS, KAITLIN BROOKS,
  CARL FLORIAN, and FRANCIS
  LAURITZEN, individually and on behalf of
  all others similarly situated,

                         Plaintiffs,                 Case No. 21-cv-02032

  v.                                                 Honorable Charles P. Kocoras

 ZOOMINFO TECHNOLOGIES, LLC, a
 Delaware corporation,

                         Defendant.


                     STIPULATION REGARDING UNDERTAKING
                    RE: ATTORNEYS’ FEES, COSTS, AND EXPENSES

       Plaintiffs Joselyn Ramos, Kaitlin Brooks, Carl Florian, and Francis Lauritzen, and

Defendant ZoomInfo Technologies, LLC (“Defendant”) (collectively, “the Parties”), by and

through and including their undersigned counsel, stipulate and agree as follows:

       WHEREAS, Bursor & Fisher, P.A. (the “Firm”) desires to give an undertaking (the

“Undertaking”) for repayment of its share of the award of attorneys’ fees, costs, and expenses

approved by the Court, and

       WHEREAS, the Parties agree that this Undertaking is in the interests of all Parties and in

service of judicial economy and efficiency.

       NOW, THEREFORE, the undersigned counsel, as agent for his law firm, hereby submits

his law firm to the jurisdiction of the Court for the purpose of enforcing the provisions of this

Undertaking.

       Capitalized terms used herein without definition have the meanings given to them in the

Settlement Agreement.
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       By receiving any payments pursuant to the Settlement Agreement, the Firm and its

shareholders, members, and/or partners submit to the jurisdiction of the United States District

Court for the Northern District of Illinois for the enforcement of and any and all disputes relating

to or arising out of the reimbursement obligation set forth herein and the Settlement Agreement.

       In the event that the Final Approval Order or any part of it is vacated, overturned,

reversed, or rendered void as a result of an appeal, or the Settlement Agreement is voided,

rescinded, or otherwise terminated for any other reason, the Firm shall, within thirty (30) days

repay to Defendant, based upon written instructions provided by Defendant’s Counsel, the full

amount of the attorneys’ fees and costs paid to the Firm from the Settlement Fund, including any

accrued interest.

       In the event the Final Approval Order is upheld, but the attorneys’ fees, costs, and

expenses awarded by the Court or any part of them are vacated, modified, reversed, or rendered

void as a result of an appeal, the Firm shall within thirty (30) days repay to the Settlement Fund,

based upon written instructions provided by the Settlement Administrator, the attorneys’ fees and

costs paid to the Firm from the applicable Settlement Fund in the amount vacated or modified,

including any accrued interest.

       This Undertaking and all obligations set forth herein shall expire upon finality of all

direct appeals of the Final Approval Order.

       In the event the Firm fails to repay to Defendant any of attorneys’ fees and costs that are

owed to it pursuant to this Undertaking, the Court shall, upon application of Defendant, and

notice to the Firm, summarily issue orders, including but not limited to judgments and

attachment orders against the Firm, and may make appropriate findings for sanctions for

contempt of court.
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       The undersigned stipulate, warrant, and represent that he has both actual and apparent

authority to enter into this stipulation, agreement, and undertaking on behalf of the Firm.

       This Undertaking may be executed in one or more counterparts, each of which shall be

deemed an original but all of which together shall constitute one and the same instrument.

Signatures by facsimile, PDF, or other electronic means shall be as effective as original

signatures.

       The undersigned declare under penalty of perjury under the laws of the United States that

they have read and understand the foregoing and that it is true and correct.


       IT IS SO STIPULATED THROUGH COUNSEL OF RECORD:

        0DUFK  2024
DATED: __________,                    BURSOR & FISHER, P.A.


                                      _______________________________________
                                      By: Scott A. Bursor, on behalf of Bursor & Fisher, P.A.
                                      Attorneys for Plaintiffs and Class Counsel




DATED: __________, 2024               KIRKLAND & ELLIS, LLP
                                                       Digitally signed by Martin

                                      Martin Roth Roth
                                                  Date: 2024.03.27
                                      _______________________________________
                                                     19:33:57 -05'00'

                                      By: Martin L. Roth
                                      Attorney for Defendant ZoomInfo Technologies, LLC
